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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                          Plaintiff,

              v.                                Civil Action No. 1:20-cv-03590 (JEB)

                                                       PUBLIC VERSION
META PLATFORMS, INC.

                          Defendant.



 Plaintiff Federal Trade Commission’s Opposition to Defendant Meta Platforms, Inc.’s
                            Pretrial Motions In Limine
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          Plaintiff Federal Trade Commission (“FTC”) respectfully requests that the Court deny all

of Defendant Meta Platforms, Inc.’s (“Meta”) pretrial motions in limine. Meta’s motions fail in

large part because each either misunderstands (whether genuine or feigned) the arguments that

the FTC intends to advance, and/or it seeks to prevent the FTC from responding to issues that

Meta has injected into the proceedings. For example, the first two motions fail because, among

other reasons, Meta incorrectly insists that the FTC intends to offer a “new or undisclosed market

definition” and advance “previously dismissed or abandoned claims.” See infra §§ I, II. Neither

of these assertions are true. Meta’s third and fourth motions, in addition to containing

misunderstandings of the FTC’s position, also try to prevent the FTC from responding to

subjects Meta has put at issue in this proceeding. For example, Meta’s third motion relates to

evidence regarding the sufficiency of the FTC’s Hart-Scott-Rodino reviews. The FTC has no

intent to inject any such evidence into the trial, yet Meta seeks to prevent the FTC from rebutting

any evidence Meta may raise on this issue. See infra § III. Likewise, Meta’s fourth motion

seeks to prevent the FTC from responding to Meta’s alleged procompetitive justifications that it

has improved Instagram’s and WhatsApp’s integrity efforts. See infra § IV. Meta’s remaining

motions contain similar defects. For the reasons described below, Meta’s motions should all be

denied.




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I.     THE COURT SHOULD DENY DEFENDANT’S MOTION IN LIMINE TO
       PRECLUDE EVIDENCE OR ARGUMENT IN SUPPORT OF MARKET
       DEFINITION

       Meta’s motion in limine seeks to exclude “evidence or argument” of a purportedly “new

and undisclosed market definition.” Meta’s Pretrial Mot. in Lim. (“Mot.”) at 2, ECF No. 404. A

foundational problem with Meta’s motion, however, is that the FTC is not advancing a new or

undisclosed relevant market. And all the evidence and arguments that Meta appears to object to

are both consistent with the FTC’s prior market definition discussions, and either directly

supports that relevant market or are relevant to some other element of the FTC’s proof, like

market shares. Meta may dispute their import, but that is not a legitimate basis for exclusion.

And indeed, the Court’s summary judgment decision relied on just such evidence and argument

in finding that there were triable issues. See FTC v. Meta Platforms, Inc., 2024 WL 4772423, at

*17-18, *19, *39, *56 (D.D.C. Nov. 13, 2024).

       Meta’s motion is also foundationally flawed in that it fails to articulate the actual legal

basis for the purported exclusion—i.e., what rule of evidence or civil procedure warrants

exclusion of the FTC’s evidence and arguments. While this necessarily hampers the FTC’s

ability to respond, as detailed below, the FTC’s evidence and arguments present no prejudice or

unfair surprise to Meta, and moreover are highly probative. As such, there is no basis for

exclusion under any rule or authority known to the FTC or cited in Meta’s motion, and Meta’s

motion should be denied.

       A. FACTUAL BACKGROUND

       Because Meta leaves out and mischaracterizes many facts in its motion, the FTC sets

forth the following to correct and clarify the record.




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               1. The FTC’s Complaint

       From the outset, the FTC has defined its proposed relevant market as “personal social

networking services,” or “PSN services,” which “consist of online services that enable and are

used by people to maintain personal relationships and share experiences with friends, family, and

other personal connections in a shared social space.” Complaint ¶ 52 (Dec. 9, 2020) (“Compl.”),

ECF No. 3; Substitute Am. Compl. ¶ 166 (Sept. 8, 2021) (“SAC”), ECF No. 81; see also Compl.

¶¶ 53-55, ECF No. 3 (identifying key distinguishing characteristics of PSN services); SAC

¶¶ 167-169, ECF No. 81 (same). The FTC further identified apps that provide PSN services and

explained that other types of online services are not reasonable substitutes. SAC ¶¶ 169, 171-

177, 184-189, ECF No. 81. And the FTC alleged that Meta’s market shares, as measured using

multiple metrics, indicated that Meta possessed monopoly power in the relevant market, even if

one did not count all time spent on Facebook and Instagram. Id. ¶¶ 190-202.

               2. Fact Discovery

       During fact discovery, Meta propounded multiple interrogatories relating to the FTC’s

market definition, which the FTC responded to with detailed explanations and evidence citations.

See, e.g., Ex. A (FTC’s Objs. & Suppl. Resps. to Meta’s First Set of Interrogs. (June 14, 2022))

(Interrogatory 10); Ex. B (FTC’s Objs. & Resp. to Meta’s List of Features or Activities (Sept. 12,

2022)) (Interrogatory 10); Ex. C (FTC’s Suppl. Objs. & Resps. to Meta’s Second Set of

Interrogs. (Jan. 24, 2023)) (Interrogatories 13 and 14).

       Meta propounded Interrogatory 10 on March 30, 2022, requesting “[f]or each feature or

activity available to users on Facebook, Instagram, WhatsApp, or Facebook Messenger, specify

whether the feature or activity is or is not within the definition of ‘personal social networking.’”

Ex. D (Meta’s First Set of Interrogs. to the FTC at 10 (March 30, 2022)) (Interrogatory 10). The

FTC timely responded on April 29, 2022, and then supplemented its responses on June 14, 2022.

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Ex. E, FTC’s Objs. & Resps. to Meta’s First Set of Interrogs. at 24 (April 29, 2022); Ex. A at 2.

The FTC’s response identified evidence showing Facebook and Instagram provide “‘friends and

family’ sharing” as a “core use case.” Ex. A at 6-11.

       Unsatisfied, Meta moved to compel further responses to Interrogatory 10. After the

Court set forth a process for the FTC to supplement its response, the FTC did so on September

12, 2022. Order at 2 (Aug. 1, 2022), ECF No. 165; Ex. B. The FTC’s Sep. 12, 2022 response

incorporated the FTC’s prior responses to Interrogatory 10, provided the required “yes/no”

classifications for each of the 322 “features or activities” identified by Meta, and provided a

narrative explanation for those classifications. The FTC explained:

                The FTC’s classifications are driven in large part by the connection between
       the feature/activity and users’ ability to share and experience each of the various
       features and activities with their social networks of friends, family, and personal
       connections in a shared social space—all built and maintained within the Facebook
       and Instagram applications—using Facebook’s and Instagram’s integrated and
       personalized social experiences. . . . The FTC classifies Facebook Dating
       [differently] because evidence suggests that Meta affirmatively cordons off Dating
       . . . . The FTC’s classifications [for Meta apps] have no implication for . . . any
       specific feature or activity offered by a different product . . . .

Ex. B at 2-4.

       The FTC also reiterated the unchanged nature of the proposed market in response to other

interrogatories, which Meta ignores. For example, on October 17, 2022, Meta propounded

Interrogatories 13 and 14, seeking similar classifications for non-Meta apps. Ex. F (Meta’s

Second Set of Interrogs. to FTC at 7-8 (Oct. 17, 2022)) (Interrogatories 13 and 14). The FTC

substantively responded, again emphasizing that its classifications were based in large part on

whether the apps had the core functionality and use for sharing with friends and family identified

in the FTC’s Complaint. Ex. C at 5-6. The FTC explained that “it is not necessary to perform a

highly granular and burdensome, feature/activity-by-feature/activity analysis,” id. at 9, 14,

because non-PSN apps have user experiences dedicated to other uses, rather than “maintaining a
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network of friends, family, and personal connections and sharing experiences with them in a

shared social space,” see id. at 37-67.

       Meta moved to compel further responses to Interrogatories 13 and 14 on February 25,

2023, making arguments very similar to those it now puts before the Court again. Meta’s Mem.

in Supp. of Mot. to Compel (Feb. 25, 2023), ECF No. 244-2. The Court denied the motion,

rejecting Meta’s argument that the FTC’s interrogatory responses “differ materially from the

relevant market alleged in the Amended Complaint”: “The FTC’s Interrogatory answers do not

appear to the Court to deviate from this definitional element of the FTC’s case. While Meta may

well not agree with this definition or the relevant market, that is a merits dispute, not a

discovery-based one.” Order at 4 (Mar. 29, 2023), ECF No. 264.

       Throughout fact discovery, Meta sought evidence to establish competition with Meta

along multiple dimensions, including for sharing with friends and family and other activities that

Meta maintains take place on Facebook and Instagram. E.g.,




                                                                  see generally Rule 7(h) Statement

in Support of Meta’s Mot. For Summ. J. § I.B (July 12, 2024), ECF No. 369-1.

               3. Expert Discovery

       In July 2023, the FTC disclosed its initial expert reports. The FTC’s economic expert

Professor Hemphill concluded—consistent with the FTC’s complaint and discovery responses—

that a relevant market exists for PSN services in the United States, where the most prominent

participants are Facebook, Instagram, and Snapchat. E.g., Ex. I (PX9000) ¶¶ 24, 26, 189-197;

see also Ex. J (PX9007) ¶¶ 15, 229-230.
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       Prof. Hemphill further explained, again consistent with the FTC’s complaint and

discovery responses, that the presence of features and activities on PSN apps that are less directly

tied to friends and family sharing does not carry the further implication that the market for PSN

services should be expanded to include non-PSN apps. Ex. I ¶¶ 265-271. That is because non-

PSN apps are not reasonable substitutes for satisfying demand for friends and family sharing. Id.

¶¶ 371-395, 533-555. Rather, Prof. Hemphill explained, these other activities instead raise a

question of whether Meta’s competitive significance in the provision of PSN services may be

overstated, relative to other PSN apps, if these additional features and activities are treated as

equal contributors to the provision of PSN services when calculating market shares. Id. ¶¶ 644-

649. To evaluate that potential issue, Prof. Hemphill used multiple metrics and analytical tools

(as discussed in further detail in Section II.B.), and found Meta to have a dominant share no

matter how different metrics were cut. Id. ¶¶ 650-659.

       Prof. Hemphill also proffered other analyses supporting his conclusion that Meta had

monopoly power with respect to PSN services, including evidence that consumer demand for

Facebook and Instagram is relatively inelastic and that Meta engaged in price discrimination to

raise quality-adjusted price higher for more inelastic users. Id. ¶¶ 727-760.

       FTC computer-mediated communications expert Professor Lampe also offered opinions

relevant to the FTC’s proposed market, including that “there are distinct platforms whose design,

motivations, and norms enable masspersonal, low cost maintenance of broad personal

relationship networks that are comprised of real life connections,” which he refers to as

“Personal Social Network Sites.” Ex. K (PX9004) ¶ 13; see also Ex. L (PX9010) ¶ 1.

       On October 3, 2023, Meta submitted expert reports responding to the opinions of Profs.

Hemphill and Lampe. The reports of Meta’s experts demonstrate they understood the FTC’s



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position and those of its experts and attempted to offer a response. E.g.,




          Profs. Hemphill and Lampe in turn submitted rebuttal reports to Meta’s experts on

December 5, 2023.

       On February 20, 2024, Meta deposed Prof. Hemphill on his initial and rebuttal reports.

Meta repeatedly probed Prof. Hemphill’s opinions with questions related to each of the topics

now discussed in its motion—including




                     Meta also deposed Prof. Lampe, and he offered testimony consistent with

and supportive of the FTC’s relevant market. See FTC’s Cross-Mot. for Partial Summ. J. (“FTC

Opening Brief”) at 29-30 (May 24, 2024), ECF No. 363-1.

               4. Summary Judgment

       In the spring and summer of 2024, the parties briefed summary judgment, which included

thorough arguments about market definition, the apps in the relevant market, Meta’s market

share, and other issues that Meta raises again in its motion in limine. See Meta’s Mot. for Summ.

J. (“Meta Opening Brief”) at 10-23 (Apr. 5, 2024), ECF No. 325-1; FTC Opening Brief at 3-34,

ECF No. 363-1; Meta’s Reply in Supp. of Mot. for Summ. J. (“Meta Reply Brief”) at 4-31 (July
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12, 2024), ECF No. 370-1; FTC’s Reply in Supp. of Cross-Mot. for Partial Summ. J. (“FTC

Reply Brief”) at 25-34 (Aug. 9, 2024), ECF No. 372-1. On November 13, 2024, the Court

denied Meta’s summary judgment motion on the possession of monopoly power in the relevant

market comprising PSN services in the United States. Order at 1 (Nov. 13, 2024), ECF No. 383;

Meta Platforms, 2024 WL 4772423, at *19.

       B. ARGUMENT

               1. Meta’s “Motion in Limine” fails the basic requirements of articulating the
                  legal basis for and objects of exclusion.

       Meta’s motion fails the most basic requirements of a motion in limine—to articulate what

the legal basis for purported exclusion is and what, exactly, the motion aims to exclude. The

motion notably lacks a “legal standard” section, and one searches in vain through Meta’s brief

for a clear articulation of what evidentiary or procedural rule the FTC is purported to have

violated, or that forms the basis for excluding any part of the FTC’s trial record.

       In places, Meta seems to suggest that the FTC is attempting to “walk back” its

Interrogatory 10 response, and that this should be forbidden because the FTC did not supplement

that response. Mot. at 3, 5, 11. But Meta never directly invokes Federal Rules of Civil

Procedure (“FRCP”) 33, dealing with interrogatories, or FRCP 37, which governs requests for

sanctions for purported failure to make discovery disclosures. Thus, it is not clear that Rule 37,

or a purported failure to supplement, is the basis for Meta’s motion.

       Meta does cite a few cases involving interrogatory supplements and potential exclusion

under FRCP 37, see e.g., Mot. at 11, making FRCP 37 the FTC’s best guess as to the claimed

legal basis for exclusion. However, the FTC has not changed and is not changing its

Interrogatory 10 response, and the FTC’s arguments and evidence (during expert discovery, at

summary judgment, and forthcoming at trial) are consistent with that response. Thus, Meta’s


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cases are inapposite. See, e.g., United States v. Philip Morris USA, Inc., 219 F.R.D. 198, 201

(D.D.C. 2004) (excluding racketeering acts identified for the first time at summary judgment that

were not disclosed in response to interrogatory requesting all racketeering acts); Woods v.

DeAngelo Marine Exhaust, Inc., 692 F.3d 1272, 1280-83 (Fed. Cir. 2012) (excluding reliance on

certain drawings where failure to respond to part of interrogatory denied meaningful opportunity

to challenge that reliance).

       Meta elsewhere references the FTC’s evidence being “prejudicial,” Mot. at 10-11,

perhaps suggesting certain evidence should be excluded under Federal Rule of Evidence (“FRE”)

403, which permits exclusion of evidence “if its probative value is substantially outweighed by a

danger of . . . unfair prejudice[.]” But Meta’s brief makes no reference to Rule 403. Thus, it is

not clear that Rule 403 (or another rule of evidence) is the basis for exclusion.

       Meta’s remaining cases are both factually distinguishable and procedurally inapt. Several

cases indicate that a plaintiff should not change its market definition at summary judgment or

trial without having amended its pleading. Mot. at 12-13; see, e.g., CPR Assocs., Inc. v. Se. Pa.

Chapter of Am. Heart Ass’n, Pa. Affiliate Inc., 1991 WL 53674, at *26-27 (E.D. Pa. Apr. 5,

1991) (considering whether the plaintiff could change its market definition at trial); Leyba v.

Renger, 874 F. Supp. 1229, 1238 (D.N.M. 1994) (considering whether plaintiff could change its

market definition at summary judgment). But these cases do not track to a motion in limine, and

in any event, are not applicable because the FTC is not changing its market definition from the

one in its pleadings. Still other cases cited by Meta simply have no bearing on any of the issues

it appears to raise. See, e.g., Rosden v. Leuthold, 274 F.2d 747, 750 (D.C. Cir. 1960) (finding

trial court erred when it did not allow a party to amend pleading to correct mathematical error);

Thorp v. Dist. of Columbia, 327 F. Supp. 3d 186, 194 (D.D.C. 2018) (denying motion for



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reconsideration of summary judgment in part because defendant did not raise argument in

summary judgment briefing that it tried to raise on reconsideration).

       Meta’s motion also has a second basic deficiency in that it fails to specify what evidence

and arguments it is seeking to bar. On the face of its motion, Meta seems to argue only that FTC

should not be allowed to change its market definition. Meta styles its motion as one to “preclude

evidence or argument in support of new and undisclosed market definition,” Mot. at 2, and

accuses FTC of “hint[ing] at a different market theory,” id. at 3, and “shift[ing] its market

definition after fact discovery,” id. at 11. As detailed elsewhere, this supposed change in market

definition—hinted or otherwise—is imaginary. Thus, based on Meta’s own phrasing, its motion

appears moot.

       In sum, while styled as a motion in limine, Meta’s motion fails at the threshold because it

does not articulate the legal basis for the requested exclusion or provide clear notice of the

objects of exclusion. See Thorp v. Dist. of Columbia, 319 F. Supp. 3d 1, 20 (D.D.C. 2018)

(Local Civil Rule 7(a) requires “a statement of the specific points of law and authority that

support the motion,” which is intended “to ensure that the nonmovant and the courts are provided

notice of what is sought and the legal basis for the motion”). Further, “[m]otions in limine are a

means for arguing why ‘evidence should or should not, for evidentiary reasons, be introduced at

trial.’” United States v. Crawford, 2024 WL 1908799, at *1 (D.D.C. May 1, 2024). They are

not vehicles for debating the evidence or “resolv[ing] factual disputes.” Barnes v. Dist. of

Columbia, 924 F. Supp. 2d 74, 78 (D.D.C. 2013). At bottom, Meta’s motion is intent on

disputing the FTC’s unchanged evidence and arguments regarding market definition, as Meta has

throughout the case. See infra Section 2. But Meta’s rehashing of its ongoing market definition

disputes in the guise of a motion in limine is not a basis for exclusion.



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               2. The FTC’s evidence and arguments are consistent with the FTC’s
                  Interrogatory 10 response, highly probative, and not prejudicial.

        As detailed above, Meta’s brief fails to give the FTC the basic notice expected of a

motion in limine. While this necessarily hampers the FTC’s ability to respond, the FTC will

address the evidence and arguments that appear to be the greatest objects of Meta’s complaints.

In particular, as best the FTC can tell, Meta’s motion is potentially seeking to exclude evidence

and arguments that the FTC has put forth throughout this case, including:

   •    Evidence or argument that non-PSN apps should be excluded from the FTC’s relevant
        market and/or market share calculations, because of Meta’s position that certain activities
        on those apps can also be performed on Facebook and Instagram. Mot. at 10-12.

   •    Evidence or argument confirming the robustness of market share calculations in the
        FTC’s relevant market. E.g., id. at 10-11, 16.

   •    Evidence or argument that Meta can price discriminate against users with more inelastic
        demand. E.g., id. at 17.

   •    Legal argument invoking Whole Foods as supporting the FTC’s relevant market
        definition. E.g., id. at 13-15.

        As described below, each of these four categories is consistent with the FTC’s

Interrogatory 10 response, highly probative of issues in dispute at trial, appropriately disclosed,

and not prejudicial to Meta, including because Meta has not been denied a meaningful

opportunity to challenge the FTC’s evidence and arguments. As such, there is no basis to

exclude these materials under any cases cited by Meta, FRCP 37, FRE 403, or any other

evidentiary or procedural rule.

                       (a) There is no legal basis to exclude evidence and arguments that non-
                           PSN apps should be excluded from the relevant market.

        Meta appears to argue that the FTC’s response to Interrogatory 10 somehow bars the FTC

from arguing that non-PSN apps should be excluded from the relevant market. Mot. at 7, 10.

Specifically, Meta’s motion suggests it wants the Court to bar the FTC from arguing that TikTok

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is excluded from the relevant market and/or market share calculations based on time spent,

because of Meta’s position that TikTok competes for time spent with Instagram Reels. Id. But

Meta’s argument here underscores that its motion is predicated on its disagreement with the

FTC’s consistent market definition position, including the FTC’s response to Interrogatory 10—

not on any prejudicial evidence or insufficient notice by the FTC.

       Indeed, the FTC has been clear and consistent from the outset that non-PSN apps are

properly excluded from the relevant market—even if they have one or more features/activities

that are arguably similar, or even identical, to a feature/activity available on Facebook or

Instagram—because they lack the distinctive functionality and use necessary to satisfy demand

for PSN services. See, e.g., SAC ¶¶ 171-177, ECF No. 81; Ex. C (classifying each

feature/activity on non-PSN apps as “not part of a personal social networking offering”); Ex. C at

9 (explaining that “it is not necessary to perform a highly granular and burdensome,

feature/activity-by-feature/activity analysis . . . in order to define a relevant market and show

monopoly power”).

       The FTC’s prior briefing on these issues reaffirmed the FTC’s position that non-PSN

apps should be excluded from the market for PSN services: “[t]o be in the relevant market, an

application must . . . provide online services that enable and are used by people to maintain

personal relationships and share experiences with friends, family, and other personal connections

in a shared social space. . . . If an online application does not provide such services, then it is out

of the market because such applications are not regarded by users as a close substitute for PSNS

services.” FTC Mem. of Law in Opp’n to Meta’s Mot. to Compel at 19-20 (Mar. 7, 2023), ECF

No. 250. The parties also debated this issue at summary judgment, and the Court found that

“competition between Meta and other social-media firms for users’ time and attention does not



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necessarily make them part of the same relevant product market,” and ultimately agreed that

summary judgment was not appropriate on the FTC’s relevant market. Meta Platforms, 2024

WL 4772423, at *9, *15-16.

       Moreover, Meta has not shown that it has suffered any prejudice, both because the FTC

has not changed the relevant market or deviated from its interrogatory responses and because

Meta identifies nothing it would have done differently in fact or expert discovery if the FTC had

responded any differently in its Interrogatory 10 response. To the contrary, Meta’s brief only

vaguely gestures at the idea that it would have done something different in fact or expert

discovery. Mot. at 13. This does not establish prejudice. Additionally, as Meta itself touts, see

id. at 8 (claiming “overwhelming evidence”), Meta took extensive discovery from third parties

seeking to turn over every stone for evidence of competition with Facebook and Instagram,

including with respect to sharing with friends and family and other activities. Supra Section A.2.

And Meta’s experts in turn argued that Meta faces competition for any and all activities on

Facebook and Instagram, including sharing with friends and family. Supra Section A.3.

       Meta’s apparent attempt to bar the FTC from arguing non-PSN apps are properly

excluded from the relevant market should therefore be denied.

                      (b) There is no legal basis to exclude evidence or argument confirming the
                          robustness of market share calculations.

       Another flavor of argument in Meta’s motion is the suggestion that certain market share

calculations that the FTC and its expert have offered contradict the FTC’s relevant market and/or

its response to Interrogatory 10. Mot. at 10-11, 16. In particular, Meta suggests it wants the

Court to bar the FTC from presenting any market share calculations that represent less than all of

time spent on Facebook and Instagram. Id. Under Meta’s conception, any piece of evidence or

argument that does not in isolation refer to all time spent on Facebook and Instagram is somehow


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inconsistent with the FTC’s Interrogatory 10 response and accordingly must be stricken. Id.; see

also id. at 2-3. That is false, and again reflects Meta simply disputing the import of evidence,

which is not the function of a motion in limine. Crawford, 2024 WL 1908799, at *1; Barnes,

924 F. Supp. 2d at 78.

       Regardless, as detailed below, the FTC’s proffered market share calculations directly

support the FTC’s relevant market, as articulated in the FTC’s complaint and Interrogatory 10

response, and thus are highly probative—as this Court found in denying Meta’s motion for

summary judgment. Meta Platforms, 2024 WL 4772423, at *19-20. As above, Meta likewise

has not, and cannot, articulate any prejudice. Accordingly, this flavor of Meta’s motion to

exclude should also be denied.

       At the outset, Meta’s Interrogatory 10 did not ask the FTC to explain the factual basis or

evidence supporting its relevant market or Interrogatory 10 response—much less did it ask the

FTC to detail the manner in which the FTC would calculate market shares. See Ex. A at 2; cf.

Order at 3, ECF No. 264 (noting with respect to Meta’s analogous interrogatories for third-party

apps: “The Court disagrees. Had Meta wanted all relevant facts about what makes the use of one

platform/feature pair a PSNS usage while another is not, it could have asked for those.”).

       The FTC in turn timely disclosed its opening and rebuttal reports, containing expert

market share analysis, pursuant to the Court’s expert discovery schedule. In particular, the

FTC’s economic expert, Prof. Hemphill, disclosed market definition and market share

opinions—each consistent with the FTC’s complaint and discovery responses. Specifically,

Prof. Hemphill concluded that there is a relevant antitrust market for PSN services in the United

States, and that Meta has a dominant share in that relevant market as measured through multiple

ordinary course performance metrics, including daily active users (“DAU”), monthly active users



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(“MAU”), time spent, and broadcast posts. Ex. I ¶¶ 621-643. These calculations show that

Meta’s market share has exceeded 62% at all points between 2011 and 2022, regardless of the

metric used. Id. ¶ 612.

       Given that some activities on Facebook and Instagram are less directly tied to interacting

with friends and family, Prof. Hemphill also measured market shares focusing on the portions of

Facebook, Instagram, and Snapchat most closely associated with sharing with friends and family.

Id. ¶¶ 268, 644, 650-59. As Prof. Hemphill explained, he did these robustness checks focused on

Feed and Stories not because he was proffering a different relevant market—e.g., one comprising

only a fraction of Facebook, Instagram, and other PSN apps—but to address the possibility that,

by counting “at par” the features less directly tied to friends and family sharing, the relative

competitive significance of Facebook and Instagram (compared to other PSN apps) might be

overstated. Id. ¶ 268 (“The existence of additional features and uses does have potential

relevance, not for the identification of market participants, but for the measurement of market

shares. The integration of diverse activities within a single app in the PSN market raises the

question of whether all activity counts equally, for purposes of evaluating an app’s competitive

significance as a PSN provider. . . . In [a later section calculating market shares], I employ a

variety of measures of and inclusion criteria for PSN output to ensure a robust assessment of

PSN market shares and thus the competitive significance of Meta and other market

participants.”); see also id. ¶ 644. This analysis provided further confirmation of Meta’s

dominant share. Id. ¶¶ 650-59.

       Nor did Meta lack sufficient notice and opportunity to respond to Prof. Hemphill’s

analysis. Prof. Hemphill’s opening report disclosed his analysis, and Meta’s experts took the

opportunity to respond, with



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                Prof. Hemphill also offered a market share sensitivity analysis in his rebuttal

report. See Section VII. But this analysis was a response to Meta’s experts, id., and Meta

notably does not (and cannot) contend that the analysis was outside the scope of proper rebuttal.

       Prof. Hemphill’s market share analysis is also entirely consistent with the FTC’s relevant

market allegations and Interrogatory 10 response. As explained, he did not offer them in support

of a different relevant market. For instance, Prof. Hemphill’s robustness check focused on Feed

and Stories is entirely consistent with the FTC’s Interrogatory 10 response, which identified

these activities as closely associated with friends and family sharing. Ex. A at 7-8 (“Ordinary

Course evidence indicates that Meta positions Feed, Stories, and Timeline . . . for use of personal

networking services. For example,



       Likewise, the FTC’s amended complaint stated that the FTC believed Meta’s dominant

market share with respect to PSN services could be observed through multiple share metrics,

including DAUs, MAUs, and time spent, and expressly contemplated a proration of time spent as

a robustness check. SAC ¶¶ 198-202, ECF No. 81. Similarly, in briefing related to Meta’s

motion to compel further responses to Interrogatories 13 and 14, the FTC explained:

       To the extent that there is any concern that counting all time spent on Facebook and
       Instagram overstates their significance as personal social networking providers, the
       FTC expects at trial (as it did in its complaint) to provide multiple market share
       metrics (not only time spent) establishing Meta’s dominant share of PSNS. As to
       time spent, the FTC anticipates its expert(s) will consider whether imperfections in
       the data likely affect the bottom-line conclusion that Meta’s share of PSNS is
       indicative of monopoly power or whether, as to a metric based on time spent, any
       type of adjustment is warranted.

FTC Mem. of Law in Opp’n to Meta’s Mot. to Compel at 20, ECF No. 250 (emphasis added).

Thus, it was completely predictable that one of the ways “the FTC’s lead expert . . . calculated


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Meta’s market share [was] . . . ‘based on the parts of PSN apps that are most directly related to

broadcast sharing with friends and family.’” Meta Platforms, 2024 WL 4772423, at *20

(internal citations omitted).

       Finally, the proffering of multiple market share estimates, including sensitivities and

robustness checks, is a well-established practice. See, e.g., Ex. P (PX15347) § 4.4.B (“How

market shares are calculated may further depend on the characteristics of a particular market, and

on the availability of data. Moreover, multiple metrics may be informative in any particular

case.”); FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27, 61 (D.D.C. 2018)

(recognizing expert’s calculation of multiple market share calculations and “increased sensitivity

to market reality as a strength of [the expert’s] analysis, not a flaw”); United States v.

Bazaarvoice, Inc., 2014 WL 203966, at *32-37 (N.D. Cal. Jan. 8, 2014) (crediting expert’s

“robustness checks” on his market share calculations which showed “consistent results” and

“revealed the same basic market structure,” even though the data available was “imperfect”); see

also United States v. Anthem, Inc., 236 F. Supp. 3d 171, 207 (D.D.C. 2017) (“[P]laintiffs ‘need

not present market shares . . . with the precision of a NASA scientist. The “closest available

approximation” often will do.’”) (internal citations omitted). Meta’s cases involving a party

attempting to use shares in a wholly separate market to impute shares in the relevant market in

turn are inapposite. See Mot. at 16-17.

       Meta’s motion seems intent on relitigating a dispute from summary judgment about the

FTC’s market share estimates. The Court rejected Meta’s arguments as a basis for summary

judgment. Meta Platforms, 2024 WL 4772423, at *20 (“Meta raises issues with these friends-

and-family-focused market-share measurements, . . . [r]esolving those disputes . . . is

inappropriate at the summary-judgment stage, especially without any evidence that better



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methods of market-share measurement exist.”). They are equally inappropriate as the basis of a

motion in limine. See Barnes, 924 F. Supp. 2d at 78.

                      (c) There is no legal basis to exclude evidence and arguments that Meta
                          price discriminates against users with more inelastic demand.

       Meta appears to seek to exclude evidence that Meta can price discriminate against users

with more inelastic demand, while incongruously asserting that “Professor Hemphill has no

evidence of such discrimination.” Mot. at 17. Meta’s brief relatedly falsely claims that the FTC

is offering a “new theory” that Meta can exercise monopoly power or raise quality-adjusted price

“for only the people who engage” in Meta’s narrow construction of what relates to friends-and-

family sharing on Facebook and Instagram. Mot. at 3.

       Meta is wrong. The FTC has proffered evidence of Meta’s broad exercise of monopoly

power, as reflected in quality declining on Facebook and Instagram across multiple dimensions,

while Meta reaps sustained high profits. FTC Opening Brief at 19-20, 33-34, ECF No. 363-1.

Further, evidence that Meta price discriminates is consistent with the FTC’s proposed market and

interrogatory responses, and indeed squarely supports the FTC’s relevant market while also

serving as direct evidence of monopoly power. As discussed at summary judgment, Meta’s price

discrimination is relevant to Meta’s possession of monopoly power in at least two ways. First,

price discrimination is relevant to delineating the FTC’s product market using the Brown Shoe

practical indicia. FTC Opening Brief at 17, 20-21, ECF No. 363-1; Meta Platforms, 2024 WL

4772423, at *9, 14. Second, price discrimination can serve as direct evidence of monopoly

power, which does not rely on market definition. FTC Opening Brief at 33-34, ECF No. 363-1

(citing Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 307 & n.3 (3d Cir. 2007)); Meta

Platforms, 2024 WL 4772423, at *8, 16; see also Ex. I ¶¶ 727-731.




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       Meta likewise has not suffered any prejudice. Prof. Hemphill’s opinions related to the

FTC’s price discrimination evidence are consistent with the FTC’s interrogatory responses and

were timely disclosed in the FTC’s expert reports, Ex. I ¶¶ 727-760; Ex. J ¶¶ 104-121,




       Meta’s attempt to prevent the FTC from using evidence or argument related to price

discrimination should therefore be denied.

                      (d) There is no legal basis to exclude evidence or argument that Whole
                          Foods supports the FTC’s relevant market.

       Meta appears to seek to exclude legal argument invoking Whole Foods as supporting the

FTC’s relevant market definition. Mot. at 13-16. This is an unusual ask in a motion in limine,

which are traditionally used to argue why evidence should be excluded for evidentiary reasons.

See Crawford, 2024 WL 1908799, at *1. Meta’s Whole Foods arguments also lack substantive

merit. First, Meta continues to wrongly assert that Whole Foods sustained a market limited only

to a subset of customers or in-store products. See Mot. at 14. To the contrary, as previously

explained, FTC evidence paralleling evidence from Whole Foods—including evidence centered

on Feed and Stories—confirms the FTC’s relevant market and is not a “retreat,” Mot. at 8, or

evidence proffered in support of some different relevant market, FTC Reply Brief at 33-34, ECF

No. 372-1.

       Relatedly, Meta is wrong that Whole Foods implies that “the FTC committed to prove

that Meta’s Cheerios do not compete with TikTok’s Cheerios.” Mot. at 15. Whole Foods stands

for the opposite, as the FTC previously explained. FTC Opening Brief at 18, ECF No. 363-1

(quoting Whole Foods that “the fact that a customer might buy a stick of gum at a supermarket or




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at a convenience store does not mean there is no defensible groceries market”) (alterations

omitted).

        Second, the FTC has repeatedly cited Whole Foods in its market definition disputes with

Meta, underscoring that there is no unfair surprise. Id.; see also FTC Mem. of Law in Opp’n to

Meta’s Mot. to Compel at 12-13, ECF No. 250. Likewise, the FTC has repeatedly rejected

Meta’s argument that discussions of competition in this case must occur at the individual activity

level. See FTC Mem. of Law in Opp’n to Meta’s Mot. to Compel at 13 (July 14, 2022), ECF No.

157 (“the focus on piecemeal activities overlooks the integrated service being offered”); Ex. B at

2 (stating that “[t]he FTC’s classifications are driven in large part by the connection between the

feature/activity and users’ ability to share and experience each of the various features and

activities” with their network of personal connections); FTC Mem. of Law in Opp’n to Meta’s

Mot. to Compel at 1, ECF No. 250 (“The FTC further alleges that . . . PSNS reflect integrated

services centered on friends and family, and not, as Meta suggests, a balkanized set of individual

activities and features.”).

                3. Meta’s remaining arguments are baseless.

        Meta’s motion makes two other arguments in passing that likewise do not support its

motion to exclude. First, the background section of Meta’s brief suggests that FTC expert Prof.

Lampe “hinted at a different and narrower market” limited to weak connections and excluding

close friends and family. Mot. at 9-10 (piecing together separate fragments of testimony from

Prof. Lampe). This is a mischaracterizing of Prof. Lampe, as previously explained. FTC

Opening Brief at 29-30, ECF No. 363-1.

        Meta’s motion also mentions stipulations Meta proposed, Mot. at 7-8, suggesting the

parties’ inability to reach agreement implied the FTC planned to pursue a different market at

trial. The FTC has no such plans, as detailed above. Rather, as the FTC explained to Meta,
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“[w]here [the FTC] did not agree to a proposed stipulation, the proposed statements were not

positing facts, but instead were characterizing a party’s position on a legal issue, or otherwise

characterizing or decontextualizing material evidence or discovery responses, among other

issues.” Ex. Q (T. Mattes email to J. Hartman).

       C. CONCLUSION

       For the foregoing reasons, Meta’s motion should be denied.




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II.    THE COURT SHOULD DENY DEFENDANT’S MOTION IN LIMINE TO
       EXCLUDE FROM TRIAL PREVIOUSLY DISMISSED OR ABANDONED
       CLAIMS AND ALLEGATIONS

       Meta moves to exclude the FTC from raising evidence or argument about any other

actual or attempted acquisitions other than its acquisitions of Instagram and WhatsApp, arguing

that this evidence solely relates to claims that the Court dismissed or the FTC abandoned. But

evidence of Meta’s pattern of acquisitions (and attempted acquisitions) of current or potential

competitors is probative of its course of conduct; namely, that when faced with competitive

threats it did not compete, but rather tried to buy. The Court should deny Meta’s motion

accordingly.

       A. LEGAL STANDARD

       While plaintiffs are generally “barred from raising rejected counts at trial,” Rodriguez v.

Wash. Metro. Area Transit Auth., 2021 WL 7286936, at *1 (D.D.C. Dec. 7, 2021), “[t]he mere

fact that a claim has been dismissed does not automatically render all evidence pertaining to that

claim irrelevant and inadmissible.” Holmes-Martin v. Sibelius, 2011 WL 13244746, at *1

(D.D.C. Mar. 3, 2011) (citing Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 113 (2002)).

“Rather, the admissibility of evidence pertaining to extinguished claims is governed by the same

principles that govern the admissibility of evidence, such as relevance, unfair prejudice and

confusion to the jury.” Id. (“‘[B]ackground evidence of prior acts of discrimination, though not

independently actionable, would be admissible if relevant and not unfairly prejudicial under

Federal Rules of Evidence 401 and 403.” (citing Lyons v. England, 307 F.3d 1092, 1110 (9th Cir.

2002)). Courts thus do not automatically exclude any evidence pertaining to dismissed claims,

but rather evaluate the relevance and potential prejudicial effects of any evidence that a party

seeks to exclude under the Federal Rules of Evidence.



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When Meta could not buy its way out of eventually competing with Snapchat, it instead

innovated to add




        Meta’s attempted acquisition of Snap is just one example. Meta also explored purchasing

       and attempted to purchase




        And just as in the case of Snap, Meta competed with       when Meta was unable to

acquire it.




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reflective of the FTC’s preliminary exhibit list nor particularly supportive of Meta’s own

argument. Meta has not shared how many documents it seeks to exclude with this motion, but

from the FTC’s count, Meta’s motion would impact a small percentage of the FTC’s exhibits.

For these reasons, the Court should reject Meta’s all-encompassing request to exclude “any

evidence or argument as to acquisitions or potential acquisitions other than Instagram and

WhatsApp.” Further, the Court should reject any attempt by Meta in its Reply to narrow its

requested relief to any particular attempted or completed acquisitions, as Meta did not advance

any transaction-specific arguments in its opening brief. To the extent Meta genuinely wants to

object to any testimony or document concerning other acquisitions on relevance grounds, it can

do so during or after trial rather than in its overly-broad motion to exclude all evidence

pertaining to other acquisitions. For these reasons the Court should deny Meta’s motion in

limine.




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III.    THE COURT SHOULD DENY DEFENDANT’S MOTION IN LIMINE TO
        PRECLUDE TESTIMONY AND ARGUMENT REGARDING META’S HSR
        PRODUCTIONS AND INSTEAD PRECLUDE ALL EVIDENCE AND
        ARGUMENT REGARDING THE FTC’S PRIOR HSR REVIEWS

        Meta’s next motion in limine concerns the FTC’s pre-merger reviews of Meta’s

acquisitions of Instagram and WhatsApp under the Hart-Scott-Rodino Act (“HSR Reviews”).

Meta apparently intends to argue for a third time that the FTC’s prior HSR Reviews render its

acquisitions legal under Section 2 of the Sherman Act, and Meta seeks through this motion to

limit the FTC’s ability to counter that argument.

        To be clear, it is Meta who intends to raise the HSR Reviews at trial, not the FTC. The

FTC has no intention of raising the HSR Reviews in its affirmative case, while Meta purports

that it “will call” a still-unnamed witness from the FTC to testify about the Instagram acquisition,

the WhatsApp acquisition, and “the FTC’s clearance of those acquisitions.” Ex. A (Meta’s

Second Amended Witness List) at -011. Meta also asked the FTC to agree to twelve proposed

joint stipulations about the HSR Reviews that included details such as (1) how many documents

Meta, Instagram, and WhatsApp produced during the HSR Reviews; (2)

                                              ; and (3) that the FTC stated the HSR Reviews were

“competent.” Ex. B (FTC’s Response to Meta’s First Set of Proposed Joint Stipulations of Fact)

¶¶ 1-4. And while Meta’s motion argues the FTC’s proposed joint stipulations show that the

agency intends to offer evidence and argument regarding the sufficiency or extent of the HSR

Reviews (“HSR Evidence”), Mot. at 21, Meta is incorrect. The FTC’s proposed joint

stipulations regarding HSR Evidence relate exclusively to rebuttal facts that the FTC served only

after it learned that Meta would be re-upping the HSR Reviews at trial. See, e.g., Ex. C (FTC’s

Second Set of Proposed Joint Stipulations) ¶ 67 (proposing that Meta stipulate that it produced

documents in this litigation that it did not produce during the HSR Reviews).


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       The Court should not indulge Meta’s renewed attempt to inject the HSR Reviews into

this case because it has already ruled they are not relevant—twice. Facebook, 581 F. Supp. 3d at

57 (finding “it would be improper to draw a merits conclusion about the legality of the mergers

on the basis of [the HSR Reviews]”); Meta Platforms, 2024 WL 4772423, at *29 (same). Also,

allowing Meta to raise the HSR Reviews again would invite a trial-within-a-trial about their

sufficiency, wasting time that should be spent on the focus of this case. Consequently, pursuant

to FRE 402 and 403, the Court should preclude any and all HSR Evidence, full stop.

       Even if the Court permits Meta to offer some HSR Evidence, it should not allow Meta’s

side of the story to go unchallenged. Rather, insofar as Meta opens the door, the Court should

deny Meta’s motion in limine and grant the FTC permission to properly contextualize the HSR

Reviews with unprivileged facts. At a minimum, the Court should not rule on this motion until it

has the chance to evaluate the HSR Evidence in the full light of trial.

       A. The Court Should Exclude HSR Evidence Under FRE 402 as Irrelevant.

       Meta’s motion is premised on its claim that “the FTC seeks to argue to the Court” the

HSR Reviews “were flawed because the agency did not have all the documents that it obtained

through its recent investigation and discovery in this case.” Mot. at 21. Not so. The FTC has no

plan to offer HSR Evidence during its case-in-chief and has maintained at all times during this

case that the HSR Reviews are irrelevant. Rather, it is Meta that has repeatedly brandished the

HSR Reviews as a sword. The Court has already twice rejected Meta’s attempt to wield the HSR

Reviews in this way and it should disarm Meta for a third time, this time permanently.

       The first time the Court addressed Meta’s HSR Reviews defense was its ruling denying

Meta’s Motion to Dismiss the FTC’s Amended Complaint. There, Meta argued that “the FTC

‘unconditionally cleared both acquisitions under Section 7 of the Clayton Act, which Congress

enacted to address incipient threats to competition that Section 2 would not condemn.’”
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Facebook, 581 F. Supp. 3d at 56 (quoting Meta’s Mot. to Dismiss at 21 (emphasis in original)).

The Court declined to dismiss the Amended Complaint on that basis, finding the “HSR reviews

at the time of the acquisitions do not bear significantly on the issue now before the Court”

because, among other things, “[t]he HSR Act does not require the FTC to reach a formal

determination as to whether the acquisition under review violates the antitrust laws” and contains

“explicit language making clear that the FTC can bring post-review challenges.” Id. at 57.

       The second time Meta swung the HSR Reviews sword was in its Motion for Summary

Judgment, when it “re-upped its argument that a presumption of legality should be extended to

its acquisitions because the FTC previously cleared them to go forward during the Hart-Scott-

Rodino process.” Meta Platforms, 2024 WL 4772423, at *29. The Court observed it had

“previously rejected this argument,” and held that “the Commission’s decision to revisit the

mergers it previously declined to block is entitled to full consideration on the merits.” Id.

       Meta now tries for a third bite at the apple. The Court should reject Meta’s gambit yet

again—this time for good—by entirely excluding HSR Evidence under FRE 402, which provides

that “[i]rrelevant evidence is not admissible.” As this Court has already recognized, Facebook,

581 F. Supp. 3d at 57, an antitrust enforcement agency’s “decision not to pursue [a pre-merger

challenge] isn’t probative as to the merger’s legality because many factors may motivate such a

decision, including the [agency’s] limited resources.” Steves & Sons, Inc. v. JELD-WEN, Inc.,

988 F.3d 690, 714 (4th Cir. 2021) (affirming exclusion of Department of Justice’s decision not to

pursue pre-merger investigation); see also Static Control Components, Inc. v. Lexmark Int’l, Inc.,

749 F. Supp. 2d 542, 556 (E.D. Ky. 2010) (affirming order barring defendant from using “the

FTC’s decision not to take action as a sword because inaction on the part of the government

cannot be used to prove innocence”). Here, the Court has repeatedly ruled that it will not “draw



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a merits conclusion about the legality of the mergers on the basis of [the HSR Reviews].” Meta

Platforms, 2024 WL 4772423, at *29 (quoting Facebook, 581 F. Supp. 3d at 57). It should

therefore exclude HSR Evidence as irrelevant. See, e.g., Pinkett v. Dr. Leonard’s Healthcare

Corp., 2021 WL 1634565, at *1-2 (D.D.C. Apr. 27, 2021) (excluding party’s cost of medical

care as irrelevant to dispute over severity of her injuries).

       B. The Court Should Exclude HSR Evidence Under FRE 403 Because it Would
          Invite a Mini-trial and Risks Confusing the Issues.

       Even if some HSR Evidence is probative (and none of it is), the Court should still

exclude all of it under FRE 403, which provides that “[t]he court may exclude relevant evidence

if its probative value is substantially outweighed by a danger of one or more of the following:

unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” “To reduce the risk of undue delay or wasted time,

the Court can limit the admission of evidence . . . if doing so becomes appropriate to prevent [a]

‘trial within a trial.’” United States v. Olaitan, 2023 WL 4993525, at *7 (D.D.C. Aug. 4, 2023);

see also United States v. Calloway, 2023 WL 3743890, at *5 (D.C. Cir. June 1, 2023) (affirming

exclusion of evidence on a collateral issue to avoid “wasting time” with a “trial within a trial”);

United States v. Aboumoussallem, 726 F.2d 906, 912 (2d Cir. 1984) (affirming exclusion of

testimony when it would trigger “a ‘trial within a trial’”).

       Here, allowing Meta to contend at trial that the HSR Reviews bear on the legality of its

acquisitions under Section 2 would force the FTC to respond in kind, thereby inviting a mini-trial

over the HSR Reviews’ sufficiency and rigor and distracting from the focus of this case. The

pre-trial back-and-forth on the proposed joint stipulations, see supra at 28, highlights the danger

of a trial-within-a-trial if Meta is permitted to offer HSR Evidence at trial.




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       C. The Court Should Not Pre-emptively Tie the FTC’s Hands at Trial and Permit
          the FTC to Put Meta’s HSR Evidence in Proper Context.

       Meta’s motion asks the Court to preclude the FTC from asserting that “Meta did not

provide the FTC with the documents it sought” during the HSR Reviews or that the HSR

Reviews “w[ere] flawed for lack of such documents.” Mot. at 21. Meta speculates that the FTC

will argue it “withheld documents or materials” during the HSR Reviews or even that Meta

spoliated evidence. Mot at 25. As noted above, the FTC has no plans to raise the HSR Reviews

in its case-in-chief. Meta’s fears are unfounded and cannot sustain its premature motion here.

       Further, if Meta is permitted to offer HSR Evidence regarding the sufficiency and rigor of

the HSR Reviews, the Court should not pre-emptively preclude the FTC from introducing non-

privileged facts about Meta’s document productions during the HSR Reviews. The FTC’s

proposed stipulated facts related to the HSR Reviews are instructive. They contain basic facts

about the reviews and this litigation—which, notably, Meta largely conceded at summary

judgment. Ex. C ¶¶ 55-71. For instance, they proffer that Meta produced additional documents

during the FTC’s pre-complaint investigation and discovery in this action than in the prior HSR

Reviews, and establish the (short) timelines of each review. Id. ¶¶ 55-71.

       Moreover, these facts, and the arguments the FTC may make from them, do not implicate

the FTC’s internal privileged materials. To be clear, under no circumstances will the FTC offer

any “documents and memoranda [that agency] staff generated while reviewing both the

Instagram and WhatsApp acquisitions,” which the Court previously ruled are protected under the

deliberative-process privilege. FTC v. Meta Platforms, Inc., 2022 WL 4078930, at *2, *5

(D.D.C. Sept. 6, 2022). Because the FTC thus will not be using privileged information as a

sword, the cases Meta cites regarding the sword/shield doctrine are inapt. See Mot. at 24-25.




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        Rather, to the extent the HSR Reviews remain a topic at all in this litigation, the FTC has

argued and will continue to argue that the prior reviews did not legally or factually immunize

Meta’s acquisitions—as the FTC explicitly told Meta at the time. Ex. D (PX3483) at -001

(forwarding closing letter from FTC); Facebook, 581 F. Supp. 3d at 57 (quoting closing letter).

In that context, the FTC should be permitted to proffer basic facts and provide complete factual

context, such as that the record in this case is much larger than in those prior reviews, and fully

supports a finding of Section 2 liability in this action. Meta’s request to exclude such non-

privileged information is baseless, especially when Meta is the one persistently injecting the

prior reviews into this litigation.

        If the Court has any reservations, the Court should delay a ruling—denying Meta’s

motion and waiting until trial so that it may view the dispute in the context of the trial. See

Fernandors v. District of Columbia, 2006 WL 449300, at *4 (D.D.C. Feb. 23, 2006) (reserving

“final ruling on admissibility” until the court sees “the fuller context provided by trial”).




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IV.    THE COURT SHOULD DENY DEFENDANT’S MOTION IN LIMINE TO
       PRECLUDE EVIDENCE OR ARGUMENT REGARDING INFLAMMATORY
       MATTERS

       In an attempt to justify its anticompetitive acquisitions of Instagram and WhatsApp, Meta

has claimed that its “tools and expertise helped Instagram attack its integrity problems at scale.”

Ex. A (PX10092) at -013. In response, the FTC intends to introduce evidence rebutting those

claims by showing that Meta underinvested in Instagram’s integrity efforts—or systems used to

detect and remove activity or content that violates user policies—for years after the acquisition

and, relatedly, that both Facebook and Instagram continually suffered from integrity issues post-

acquisition. Despite this, Meta now seeks to exclude evidence showing “how some third-party

users post objectionable content” and concerning “social media’s relation to mental health,”

arguing that this evidence is “inflammatory,” “prejudicial,” and a “waste [of] valuable trial time.”

Mot. at 26. But Meta introduced integrity issues into the proceeding by claiming that it delivered

integrity benefits to Instagram and WhatsApp. It should not now be allowed to exclude facts

rebutting these contentions simply because they do not like what these facts show.

       Accordingly, the FTC respectfully asks this Court to deny Meta’s motion in limine.

       A.      ARGUMENT

       Courts evaluate the admissibility of evidence on a trial motion in limine according to the

framework established by Rules 401, 402, and 403 of the Federal Rules of Evidence. United

States v. Baez, 2024 WL 4880011, at *1-2 (D.D.C. Nov. 25, 2024). Courts must first “assess

whether the evidence is relevant.” Daniels v. District of Columbia, 15 F. Supp. 3d 62, 66

(D.D.C. 2014). “Evidence is relevant if: (a) it has a tendency to make a fact more or less

probable than it would be without the evidence; and (b) the fact is of consequence in determining

the action.” Fed. R. Evid. 401.


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       Federal Rule of Evidence 403 provides that relevant evidence may be excluded if its

probative value is substantially outweighed by “unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

However, this balancing test “‘has a highly limited application, if any at all’ in a bench trial.”

United States v. Bray, 2024 WL 3723942, at *2 (D.D.C. Aug. 8, 2024) (quoting United States v.

Fitzsimons, 605 F. Supp. 3d 92, 100 n.6 (D.D.C. 2022)). Indeed, judges in this district have

joined sister circuits in explaining that because prejudice objections “‘have no logical application

in bench trials . . . excluding relevant evidence on the basis of unfair prejudice [in a bench trial]

is a useless procedure.’” United States v. Griffith, 2023 WL 2043223, at *2 (D.D.C. Feb. 23,

2023) (quoting Gulf States Utils. Co. v. Ecodyne Corp., 635 F.2d 517, 519 (5th Cir. 1981) and

“joining at least one other judge of this jurisdiction”).

               1. The evidence Meta seeks to exclude is relevant to rebut Meta’s alleged
                  procompetitive justifications and as evidence of degraded quality, consumer
                  harm, and monopoly power.

       Relevance under FRE 401 is a low bar, merely requiring that evidence have “any

tendency” to make a fact of consequence more or less probable. United States v. Rhine, 2023

WL 2072450, at *3 (D.D.C. Feb. 17, 2023) (quoting Fed. R. Evid. 401). Here, the evidence

Meta seeks to exclude clears that bar in two ways: first, by rebutting Meta’s own affirmative

defenses, and second, by illustrating Meta’s monopoly power and the harmful consequences of

that power.

       A party asserting procompetitive justifications—here, Meta—bears the burden of proving

them through an “overwhelming demonstration that substantial efficiencies are involved and

either cannot be achieved in other ways or will inevitably destroy the other firms.” Phillip E.

Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application ¶ 701h. Meta must establish at least three elements for each of its alleged
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justifications. First, the purported “justifications must be a form of ‘competition on the

merits[,]’” which “typically requires showing that the union will result in ‘greater efficiency’ . . .

or, more directly, increased consumer welfare.” Meta Platforms, 2024 WL 4772423, at *79

(quoting United States v. Microsoft Corp., 253 F.3d 34, 59 (D.C. Cir. 2001)). Second, “such

justifications cannot be pretextual.” Id. at 80. Third, “Meta must show that the procompetitive

benefits could not have been achieved without the acquisitions in question”; in short, “if the

claimed benefits could have been achieved without the anticompetitive conduct, then they cannot

rescue that conduct.” Id. at 80-81.

       When asked to identify the procompetitive justifications for its acquisitions of Instagram

and WhatsApp, Meta claimed in part that “Meta’s tools and expertise helped Instagram attack its

integrity problems at scale.” Ex. A at -013. Specifically, Meta alleged that it helped Instagram

improve its ability to reduce spam, fake and abusive accounts, and reduce presence of

objectionable content on its platforms. Id. at -018. To date, Meta has not withdrawn these

claims and, if anything, has doubled down on them. Indeed, Meta has recently listed V.S.

Subrahmanian as an expert witness who will testify regarding Meta’s purported integrity claims.

Ex. B (Meta’s Second Amended Witness List) at -020. When put to the test at trial, however,

Meta will be unable to carry its burden to show that these—like its other alleged justifications—

are non-pretextual, merger-specific, and narrowly tailored. Meta Platforms, 2024 WL 4772423,

at *80-81. To the contrary, the FTC will introduce evidence showing that Meta systemically

underinvested in Instagram and, unsurprisingly, Instagram continually struggled to combat

objectionable content on the platform.

       For example, the FTC intends to introduce PX3605 as evidence on this topic at trial. This

analysis—which was created for and relied upon by high-level Meta executives—explains that



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                                             Ex. C (PX3605) at -007; see also id. at -006-07



                                                          Content relating to bullying provides an

illustrative example:

                                                                                             Id.

at -008



          Further, evidence will show that bullying issues on Instagram continued for years even

after                                                                                    In 2018,

Meta observed that

                                                                                                   Ex.

D (PX15316) at -005; Ex. E (PX3070) at -009. Indeed,



                                             Ex. F (PX10759) at -002.

          This evidence of Meta’s failure to invest in Instagram’s integrity systems for many years

following the acquisition is probative of Meta’s affirmative defenses because it shows that

improving integrity outcomes was “not a genuine reason for” its acquisition of Instagram. Image

Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1220 n.12 (9th Cir. 1997) (quoting jury

instructions). The evidence therefore directly rebuts Meta’s contention that integrity

improvement was a non-pretextual justification for the merger. Id. at 1219 (stating that the

antitrust laws do not “allow[] a monopolist to rely upon a pretextual business justification to




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mask anticompetitive conduct”) (citing Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

451, 484 (1992)).

       Additionally, evidence of quality issues relating to integrity—such as



                 Ex. G (PX10159) at -006; see also Ex. H (PX10160) at -009; Ex. I (PX3609)

at -003—is probative for two separate reasons. First, the efficacy of Meta’s post-acquisition

integrity investments is probative as to whether Meta’s stated justifications were actually

realized—which, of course, is a necessary predicate to showing that these benefits were merger

specific. Meta Platforms, 2024 WL 4772423, at *80-81 (explaining that the requirement that any

justification be the “least restrictive” mirrors the “Clayton Act’s requirement that efficiencies be

merger specific”). Second, evidence of Meta’s integrity failings is also probative of quality

issues on Facebook and Instagram, which is direct evidence of Meta’s monopoly power and

evidence of harm to consumers. FTC Opening Brief at 34, ECF No. 363-1 (“Evidence also

indicates declining quality for both apps—i.e., an increase in quality-adjusted price—across

multiple other product quality dimensions, including access to friends-and-family content,

privacy, integrity, reliability, and overall satisfaction.”), 60 (stating that “Meta has underinvested

in integrity on Instagram and adopted integrity policies that harm users”); see also United States

v. Google, 2024 WL 3647498, at *75 (D.D.C. Aug. 5, 2024) (“Just as the power to raise price

‘when it is desired to do so’ is proof of monopoly power . . . so too is the ability to degrade

product quality without concern of losing consumers.”); id. at *128 (analyzing how

anticompetitive conduct had “allowed Google to degrade the quality of its text advertisements”);

Meta Platforms, 2024 WL 4772423, at *70-71 (analyzing evidence of quality degradation of




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“evidence of specific harm to consumers”). As such, this evidence is clearly “of consequence in

determining the action.” Fed. R. Evid. 401.

        This evidence’s probative value distinguishes the cases Meta cites, which exclude

evidence given its limited probative impact. For example, in United States v. Schuette, the court

was concerned, in part, that the evidence was “only marginally probative.” 2023 WL 163490, at

*3 (N.D. Cal. Jan. 11, 2023). Other cases cited by Meta are likewise distinguishable. See United

States v. Moore, 589 F. Supp. 3d 87, 92 (D.D.C. 2022) (“[I]t is far from clear that [the excluded]

evidence . . . is at all probative given the facts of this case.”); Ricketts v. City of Hartford, 74 F.3d

1397, 1414 (2d Cir. 1996), as amended on reh’g in part (Feb. 14, 1996) (use of excluded

evidence to show intent was “irrelevant to the primary question” of the case); White v. United

States, 148 F.3d 787, 792 (7th Cir. 1998) (excluded evidence was “collateral because it had no

direct bearing on” case’s legal issues).

        Notably, Meta does not argue that exposure to objectionable content—whether spam,

nudity, or violent content—has no impact on the quality of a user’s experience. Rather, Meta

appears to argue that evidence of objectionable content is irrelevant because it involves only a

“small percentage” of “third party users” and because the FTC has not argued that Meta’s efforts

fall below some sort of “competitive benchmark.” Mot. at 30-31. Each of those arguments fail.

        Meta’s argument, that evidence of whether “some bad actors” have evaded detection is

irrelevant to its procompetitive justifications, is pure sophistry. Id. In the first instance, Meta

relies on a misstatement of the law. It argues that “[t]he relevant question for trial is whether

Meta’s demonstrable quality improvements were inevitable such that they would have happened

without the two acquisitions at issue.” Id. at 31. Not so. As this Court previously held, any

procompetitive justification must be a form of competition on the merits, non-pretextual, and



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could not have been achieved without the acquisitions in question. Meta Platforms, 2024 WL

4772423, at *79-81. For example, to show that Instagram’s use of PhotoDNA to reduce

objectionable content is a legally cognizable procompetitive justification, Meta must first show

that PhotoDNA—which is a free and widely used software tool developed by Microsoft that

allows companies to detect child exploitation material—actually was successful in reducing such

material on Instagram. Ex. L             at -007. As such, an inquiry into Meta’s success in

reducing child exploitation material is relevant as to whether this purported benefit actually

occurred. Meta Platforms, 2024 WL 4772423, at *77-78 (“For one, [procompetitive benefits

are] not prospective; Meta can point to actual consumer benefits that it contends have flowed

from the acquisition.”).

       Next, Meta must show that Instagram’s use of PhotoDNA could not have been achieved

by an independent Instagram. As such, the FTC intends to introduce evidence showing that

Instagram could have acquired and deployed PhotoDNA as a standalone company, just as other

non-Meta platforms did. So too with Meta’s allegations regarding its content moderation team.

The FTC will present evidence that Meta




       Putting those two examples aside, even under Meta’s erroneous characterization of the

law, it concedes that quality improvements must be “demonstrable.” Mot. at 31. Nonetheless,

Meta argues that because “bad actors are inevitable,” individual incidents of objectionable

content are also inevitable and, accordingly, irrelevant. Id. But while individual incidents of




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objectionable content may not be dispositive of platform quality, they can be a symptom of larger

structural or programmatic integrity issues that degrade the quality of the platform.

       Meta cannot exclude such probative evidence by concocting a requirement that the FTC,

at trial, needs to link evidence of degradation of Meta’s apps’ quality, or evidence rebutting

Meta’s procompetitive justifications, to a “competitive benchmark” or “competitive level.” See

Mot. at 27, 30. The Court has already determined that “evidence of specific harms to

consumers” does not need such links in order to be viable. See Meta Platforms, 2024 WL

4772423, at *70-71. In denying Meta’s motion for summary judgment, the Court held that the

“enormous[]” growth in Instagram’s ad load, Meta’s ability “to adjust ad loads on both Instagram

and Facebook to make up for revenue shortfalls,” “Meta’s explicit policy of not prioritizing

Instagram’s growth so as not to cannibalize too much from Facebook,” and Meta’s shuttering of

Facebook Camera were all “evidence of specific harms of consumers.” Id. at *70-71. And none

of these harms operate by reference to “a competitive benchmark” or even to other firms more

generally. See id. The Court should likewise reject the artificial requirement that Meta has tried

to conjure up here.

               2. The probative value of the FTC’s integrity evidence is not substantially
                  outweighed by unfair prejudice nor is it a waste of trial time.

       Meta also goes on to argue that, even if evidence of objectionable content is relevant, it

should nonetheless be excluded under FRE 403 because it would be “inflammatory,” a “waste”

of trial time and would create a “mini-trial about mental health and social media.” Mot. at 26,

32. While Rule 403 “has a highly limited application, if any at all in a bench trial,” even a full

application of Rule 403 fails to support Meta’s position. United States v. Macandrew, 2022 WL

17961247, at *3 (D.D.C. Dec 27, 2022) (internal quotations omitted).




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       In the first instance, Meta’s protestations regarding the evidence’s “inflammatory” nature

mischaracterizes both the parties’ engagement around these issues as well as the evidence sought

to be excluded. Meta appears to argue that the FTC has somehow agreed that evidence relating

to certain integrity issues was unduly prejudicial. Mot. at 27. Not so. The FTC’s initial

Counterstatement of Material Facts included evidence that shows that Meta

                                                                                           Mot. at

27. After filing, Meta asked the FTC to retract these statements. The FTC stood by them. See

Ex. K (Email from D. Matheson to H. Weaver). However, to avoid an unnecessary dispute, the

FTC agreed to modify its language to the following: “Moreover, recent studies indicate that

Meta’s automated systems and hashtags have promoted material sexualizing children on

Instagram.” FTC Updated Counterstatement of Material Fact ¶ 2258 (June 4, 2024), ECF No.

363-2. The FTC’s agreement to address Meta’s concern and avoid a dispute by changing the

wording of a brief to replace a                                                       with the

language “material sexualizing children” does not represent any sort of admission that all (or

any) categories of objectionable content are unduly prejudicial. Rather, it shows why Meta’s

requests for pre-trial exclusion are overbroad. The FTC has continued to engage with Meta

regarding both side’s objections to the other’s exhibit list. To the extent that Meta raises similar

issues as part of this engagement, the FTC will, of course, continue to meet and confer in good

faith to attempt to resolve any specific concerns, as it has done in the past. To the extent that

Meta raises specific issues about an exhibit, it should seek to resolve those narrowly through the

process for engagement laid out by this Court, rather than seek to exclude an overly broad set of

evidence based on vague (and unsupported) concerns.




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        Meta’s other FRE 403 arguments regarding objectionable content appear to rest on

concerns that this evidence is generally inflammatory, ergo, Meta will be forced to waste trial

time responding to it. Mot. at 31-32. But FRE 403 “does not generally require the government

to sanitize its case, to deflate its witnesses’ testimony, or to tell its story in a monotone.” Rhine,

2023 WL 2072450, at *7 (internal citations omitted). It was Meta’s choice to put many of these

claims at issue by either asserting them as affirmative defenses, by refusing to agree to a factual

stipulation, or by otherwise contesting them. Having put them at issue, it cannot now seek to

exclude evidence necessary to rebut them under Rule 403. See United States v. Mitchell, 49 F.3d

769, 776 (D.C. Cir. 1995) (refusing to exclude evidence to rebut an issue of intent that the

defendant raised). And this posture distinguishes certain Meta authorities. See Carroll v. Trump,

124 F.4th 140, 176 (2d Cir. 2024) (observing that “both parties had had ample time to develop

[the evidence at question] as an issue [during discovery], yet both had failed to do so”); Coles v.

Perry, 217 F.R.D. 1, 10 (D.D.C. 2003) (excluded testimony related to claim that “[would] not go

forward,” and “ha[d] nothing to do” with claim at issue in case).

        Finally, Meta argues that introducing evidence regarding “any purported connection

between mental health and social media” will create an inappropriate “trial within a trial.” Mot.

at 32. The FTC, however, does not intend to introduce evidence related to the connection

between social media and users’ mental health generally. Rather, the FTC will remain focused

on objectionable content as defined and tracked within Meta’s own documents. For example, the

FTC intends to introduce evidence regarding “bullying” not as part of a “mini trial” on the

connection between bullying and mental health and/or social media, but rather because Meta

defines objectionable content to include bullying,                     , and because Meta assesses

its integrity success (or lack thereof) in part by evaluating



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                                . See supra Section A.1. Having defined objectionable content

broadly, Meta cannot now claim that it would be unfairly prejudiced by the FTC’s evidence

rebutting the same.

       B. CONCLUSION

       For the reasons stated above, the FTC respectfully requests that this Court deny Meta’s

motion in limine to exclude so-called inflammatory evidence.




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V.     THE COURT SHOULD DENY DEFENDANT'S MOTION IN LIMINE TO
       EXCLUDE FOREIGN REGULATORY FILINGS

       Meta’s Motion in Limine regarding Foreign Regulatory Filings should be denied. The

documents at issue consist of filings made by            TikTok, Google, and           to foreign

regulators, including the European Commission (“EC”) and the Australian Competition and

Consumer Commission (“ACCC”), in response to Requests for Information (“RFIs”) from those

regulators. Meta’s motion should be denied because, even if the Court finds that these

submissions to foreign regulators do not meet a hearsay exception, the FTC still seeks to admit

them not for the truth of matters asserted therein, but to demonstrate “industry and public

recognition” of the FTC’s PSN services market, which is relevant under Brown Shoe and its

progeny. Further, these submissions are subject to the residual hearsay exception.

       Notably, Meta itself seeks to admit a foreign regulatory filing, thereby acknowledging the

admissibility of these types of submissions. See Ex. A (Excerpt of Meta’s Am. Preliminary Ex.

List (Feb. 17, 2025)) (identifying DX0082,

                              ). Meta also seeks to preadmit similar domestic regulatory

documents, such as its own SEC filings, and asserts that they do not require witness testimony

for context. See Ex. B (email chain from L. Smith, Meta, to N. Miller et al., FTC (Feb. 26,

2025)) (proposing to pre-admit SEC filings and earnings call transcripts).

       A. Even if Not Admitted for the Truth of the Matters Asserted, the Foreign
          Regulatory Filings Contain Statements that Reflect “Industry and Public
          Recognition” Under the Brown Shoe Factors.

       Even if the statements contained in the foreign regulatory filings were not admitted for

the truth of the matters asserted (which they should be), they are still admissible as probative

evidence of “industry or public recognition” of the PSN services market, one of the Brown Shoe

factors germane to defining a relevant market. See Brown Shoe Co. v. United States, 370 U.S.


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        Accordingly, even if the Court finds that the submissions are not subject to a hearsay

exception, the FTC seeks to offer them, and they should be admitted, as evidence of industry and

public recognition related to the FTC’s relevant market.

        B. The Foreign Regulatory Filings Are Subject to the Residual Hearsay Exception.

        Contrary to Meta’s claim, the foreign regulatory filings are subject to a hearsay exception

and should also be admitted for their truth. The regulatory filings should be admitted under the

residual hearsay exception for documents because they are “supported by sufficient guarantees of

trustworthiness.” See Fed. R. Evid. 807(a)(1). Courts have found that the circumstantial

guarantees of trustworthiness exist in documents compelled by governmental organizations with

penalties for providing false submissions. See Polaris PowerLED Tech., LLC v. Samsung Elecs.

America, Inc., 386 F. Supp. 3d 760, 763 (E.D. Tex. 2019) (admitting aircraft maintenance log

where the log was required to be maintained and failure to comply would result in a civil penalty

assessed by a governmental organization); United States v. Saguil, 600 F. App’x 945, 947 (5th

Cir. 2015) (manufacturer’s inscriptions have equivalent guarantees of trustworthiness under the

residual exception because they are required by law and false designations give rise to civil

liability).

        In this case, the filings at issue were made in response to formal RFIs issued by foreign

regulatory agencies with the power to compel responses and penalize false submissions. See,

e.g., Mot. Ex. 40




For example, the EC has authority to impose fines under Article 23(1)(a)-(b) of Regulation

1/2003 if a company provides incorrect or misleading information in response to a Request for
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Information (RFI). See Council Regulation (EC) No 1/2003, European Union (Dec. 16, 2002),

https://eur-lex.europa.eu/eli/reg/2003/1/oj/eng. Similarly, the ACCC’s Criminal Code Section

137.1 makes it a criminal offence to knowingly provide to the ACCC information that is false or

misleading, or omit any matter or thing without which the information is misleading. See

Criminal Code Act 1995, Federal Register of Legislation, https://www.legislation.gov.au/

C2004A04868/latest/text. As a result, the statements are sufficiently trustworthy to be admitted

under FRE 807. The filings themselves are also the most probative evidence on these third-party

statements to foreign regulators. See Fed. R. Evid. 807(a)(2). Absent the foreign regulatory

filings as exhibits, any testimony offered by witnesses regarding the statements contained in the

filings would be piecemeal and incomplete. See FTC Mot. in Limine to Admit Select Test. of

Adam Presser and Julia Roberts (Feb. 21, 2025), ECF No. 407.

       Because these foreign filings have inherent indicia of trustworthiness, the cases cited by

Meta are distinguishable. Meta cites two cases addressing voluntary letters written in support of

Freedom of Information Act (FOIA) exemptions. See Public Citizen v. U.S. Dep’t of Agric.,

2022 WL 3139003, at *2-3 (D.D.C. Aug. 5, 2022) (on summary judgment, “it is a different

matter to rely on [hearsay] from private third-parties to justify an agencies withholding” of FOIA

documents); Brown v. Perez, 835 F.3d 1223, 1232-33 (10th Cir. 2016) (on summary judgment,

agency did not establish that letter would be admissible). In this case, however, the truthful

responses to the RFIs were mandated by foreign regulators with the respondents subject to

penalties for providing false information.

       Meta also cites two inapposite cases in which courts held that documents were

insufficiently reliable: in one instance because the documents were investigator-prepared

interview notes containing double hearsay, see Klotzbach-Piper v. Nat’l R.R. Passenger Corp.,



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636 F. Supp. 3d 73, 94 (D.D.C. 2022), and in the other because the document was alleged to be

forged, see Sabre Int’l Sec. v. Torres Advanced Enter. Sols., LLC, 72 F. Supp. 3d 131, 145

(D.D.C. 2014). These cases have no bearing on the filings at issue here, which are formal, non-

forged responses to RFIs by foreign regulators.

       Meta offers no evidence to support its position that these filings are untrustworthy

because the companies have an “axe to grind” against Meta. First, the companies at issue

dutifully complied with formal requests from foreign regulatory agencies to address concerns by

the regulators regarding Meta’s conduct. See, e.g., Mot. Ex. 41




Contrary to Meta’s suggestion, these documents were not submitted sua sponte by the

responding companies, and Meta identifies no evidence that they are unreliable. Indeed, because

regulatory filings have indicia of reliability, courts regularly take judicial notice of them. See,

e.g., FTC v. Qualcomm Inc., 2018 WL 5848999, at *6 (N.D. Cal. Nov. 6, 2018) (taking judicial

notice of filings with government regulatory bodies like the Korean Fair Trade Commission);

Yuen v. U.S. Stock Transfer Co., 966 F. Supp. 944, 945 n.1 (C.D. Cal. 1997) (taking judicial

notice of filings before a foreign court). Second, Meta’s argument goes to the weight, rather than

the admissibility of these documents. Individuals from all of the submitting third parties will be

witnesses at trial, and there are ordinary-course documents from these companies on the exhibit

lists of both parties. The Court is well positioned to determine the weight of these foreign

regulatory filings, especially in light of other evidence that will be presented.




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       C. Lack of a Sponsoring Witness Is Not a Basis to Exclude These Documents.

       Meta complains, without citation, that the FTC has not identified a sponsoring witness for

many of these documents. However, there is no freestanding sponsoring witness requirement in

the Federal Rules of Evidence. Tek Global, S.R.L. v. Sealant Sys. Int’l, Inc., 2017 WL 952955, at

*1 (N.D. Cal. Mar. 12, 2017). And this Court has already stated that “I don’t think I am going to

need or require sponsoring witnesses . . . .” Tr. of Status Conference at 8:19-20 (Dec. 9, 2024),

ECF No. 388.

       D. Meta’s Complaint That It Would Need to Respond to the Foreign Regulatory
          Filings Only Underscores the Relevance of the Documents.

       Meta asserts that admitting the regulatory submissions would waste time and cause delay

because doing so would require Meta to demonstrate why the submissions are irrelevant. In the

same breath, Meta identifies statements in the regulatory responses that purport to contradict the

FTC’s arguments. Meta cannot have it both ways. Even if the regulatory responses contradict

the FTC’s arguments, then they are still relevant. Indeed, the regulatory responses are replete

with relevant information. See supra Section A.

       Meta also argues that alleged irrelevancies and inconsistencies in the regulatory filings—

of which it provides no examples—would cause a “sideshow.” Meta is wrong. In support of its

argument, Meta relies on two cases that are fatally dissimilar to the present facts, ESPN, Inc. v.

Office of the Comm’r of Baseball, 76 F. Supp. 2d 383 (S.D.N.Y. 1999), and In re EpiPen

(Epinephrine Injection, USP) Mktg., Sales Prac. and Antitrust Litig., 2021 WL 6072512 (D.

Kan. Dec. 23, 2021). In ESPN, the court excluded evidence about an incident one party sought

to use to demonstrate the parties’ course of dealing when several witnesses had offered

contradictory testimony. 76 F. Supp. 2d at 404-07. Here, the regulatory statements do not

conflict with each other and are each authored by a single entity, in contrast to the statements of


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numerous witnesses in ESPN. As a result, ESPN is inapposite.

          In re EpiPen is similarly distinguishable. There, the court excluded evidence of a prior

bad act offered under FRE 404(b), relying on cases that excluded FRE 404(b) evidence because

admitting such evidence would lead to mini trials. In re EpiPen, 2021 WL 6072512, at *4. In

the present case, the FTC is not seeking to offer the regulatory responses as proof of prior bad

acts under FRE 404(b). Therefore, In re EpiPen does not support excluding the evidence at

issue.

          For these reasons, Meta’s Motion in Limine regarding Foreign Regulatory Filings should

be denied.




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VI.       THE COURT SHOULD DENY DEFENDANT’S MOTION TO EXCLUDE
          PROFESSOR RIM’S OPINION 2

          After proffering two academics to assert that WhatsApp would not have provided

personal social networking (“PSN”) services in the but-for world, Meta offers the curious

argument that Professor Rim may not respond to Meta’s experts because his opinion is not based

on a methodology supported by textbooks or peer-reviewed studies. Meta is wrong on both the

law and the facts. Professor Rim’s opinions are based on his own unique and significant real-

world experience that bears precisely on issues central to the case, which is a perfectly valid use

of expert testimony under the Federal Rules. Meta’s motion to exclude his Opinion 2 1 should be

denied.

          A. BACKGROUND

          Meta seeks to exclude Professor Rim’s second expert opinion, which responds to

arguments by Meta’s experts Professors Kaplan and Carlton that WhatsApp would not have

provided PSN services in the but-for world. See Mot. at 38.

          In his expert report, Professor Kaplan—




1
 Professor Rim offers two opinions in his expert report. Meta moves to exclude only the second
of Professor Rim’s two opinions (“Opinion 2”). See Mot. at 38.
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       In his expert report, Professor Carlton—




       Professor Rim responds to these arguments by Professors Kaplan and Carlton in Opinion

2 of his expert report. Professor Rim explains that, based on his extensive experience applied to

his review of the evidence in this case, “the Kaplan Report mischaracterizes the likely evolution

path which WhatsApp would have taken but for its acquisition by Meta” and that he “disagree[s]

with Professors Kaplan and Carlton that WhatsApp, absent its acquisition by Meta, was unlikely

to develop a social networking offering similar to Facebook.” See Ex. C at Section V.

       B. ARGUMENT

               1. Contrary to Meta’s assertions, where an expert offers an opinion based on
                  experience, the expert need not use a “scientific” methodology.

       Meta complains that Professor Rim “does not cite a single textbook, peer-reviewed study,

or authority” in support of his Opinion 2. Mot. at 38; see also id. at 40. But FRE 702 “expressly

contemplates that an expert may be qualified on the basis of experience.” Fed. R. Evid. 702

(Comm. Notes) (emphasis added). Courts in this District and elsewhere have repeatedly found

that “personal experience can be a reliable and valid basis for expert testimony.” Groobert v.

President & Dirs. of Georgetown Coll., 219 F. Supp. 2d 1, 6-7 (D.D.C. 2002) (expert testimony

regarding earning potential of budding photographer was reliable and admissible when expert’s


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opinion was based on expert’s own experience as a photographer and owner of a production

company, and not on particular expertise in “evaluating the careers of other photographers” or

results of scientific or academic study); see also, e.g., Heller v. D.C., 952 F. Supp. 2d 133, 141-

42 (D.D.C. 2013) (admitting expert testimony by law enforcement officials whose specialized

knowledge was gained from field experience with gun trafficking and gun violence) (citation

omitted); United States v. Hankey, 203 F.3d 1160, 1169-70 (9th Cir. 2000) (upholding admission

of expert testimony from law enforcement officer regarding defendants’ gang affiliation and

likely resultant actions, when such opinions were based on the expert’s “street intelligence”

cultivated through professional training and communications with gang).

       Where an expert’s opinion stems from their qualifications and experience, those

qualifications and experience “alone can constitute a basis of reliable principles and methods.”

Bazarian Int’l Fin. Assocs. v. Desarrollos Aerohotelco, 315 F. Supp. 3d 101, 110-11 (D.D.C.

2018) (collecting cases); see also, e.g., Heller, 952 F. Supp. 2d at 141 (finding methodology of

“observ[ing] the relevant evidence” and “apply[ing] their specialized knowledge to the case at

hand” to be reliable and noting that such methodology “has been approved by courts in a variety

of cases involving experts whose experience forms the basis of their opinions”) (citation

omitted).

       Not surprisingly, the law also does not demand that experts utilize a scientific

methodology or peer-reviewed articles, even in cases dealing with scientific experts. See, e.g.,

Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 151 (1999) (“It might not be surprising in a

particular case, for example, that a claim made by a scientific witness has never been the subject

of peer review, for the particular application at issue may never previously have interested any

scientist.”); Groobert, 219 F. Supp. 2d at 11 (“The court cannot penalize the plaintiff for the lack



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of scientific or academic studies and published reports . . . because if it did, no plaintiff could

ever present their own tests or recover damages relating to this industry.”); Artis v. Santos, 95

F.4th 518, 526 (7th Cir. 2024) (“But by now it is no secret that an expert need not wear a lab coat

nor cite peer-reviewed studies to reliably lend his expertise to the trier of fact—experience is an

equally valuable teacher.”).

       In other words, the law does not require the type of formulaic citation to textbooks, peer-

reviewed studies, or other third-party authorities that Meta demands. Mot. at 38. Where, as

here, Professor Rim has applied his uniquely relevant experience to the facts at hand, that

experience is sufficient.

               2. Professor Rim’s uniquely relevant experience qualifies him to provide reliable
                  expert testimony on, among other things, WhatsApp’s likely evolution path
                  absent acquisition by Meta.

       Professor Rim has uniquely relevant experience that qualifies him to proffer an opinion

on WhatsApp’s likely evolution path absent acquisition by Meta. He was a successful venture

capitalist and technology CEO, and now teaches on those topics at NYU Stern Business School

and around the world. See Ex. C ¶¶ 1-21.

       As detailed in Professor Rim’s report, he was the youngest person ever promoted to

Principal at Softbank Ventures Asia, the venture capital arm of the Softbank Corporation (a

multinational conglomerate that plays a prominent role in the global tech industry). See id. ¶ 6.

In that role, he routinely identified, conducted due diligence on, and successfully invested in

early and growth stage technology companies. He also attended board meetings of these

companies as a Board Observer or Board Director, actively engaging in discussions on key

management issues when he did so. See id. ¶ 8. Professor Rim then founded and led a venture

capital firm that ran the best-performing fund in South Korean history (turning approximately

$11 million in investment into roughly $1 billion) and was ranked in the top ten in CB Insights’
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global Corporate Venture Capital rankings in 2017. See id. ¶¶ 10-11, 16. Professor Rim’s

venture capital firm analyzed and invested in numerous technology companies, focusing

specifically on startup companies at the pre-revenue and pre-product stages. See id. ¶ 10. In this

capacity, Professor Rim advised companies through changes in business strategy, including

helping one technology company change its monetization strategy and grow to a staggering

25,000 times increase in valuation compared to when he invested. See id. ¶ 12.

       Professor Rim next became the CEO and Board Director of Kakao Corporation

(“Kakao”), one of the largest publicly traded technology companies in Korea. See id. ¶¶ 14, 17.

Kakao owns and operates both the mobile messenger KakaoTalk and personal social networking

service KakaoStory, among other product lines. See id. ¶ 14. Professor Rim has specific

expertise in mobile messengers and PSN services: the realities of what it is like to run them,

monetize them, and the business decisions associated with such management. See, e.g., Ex. E

(PX6182) at 11:13-12:5, 34:17-36:2, 38:7-12, 39:9-40:12. He also has specific expertise in

technology company acquisitions and the discussions that occur at the Board of Directors level

for such acquisitions. See id. at 36:21-37:12.

       Professor Rim received many awards for his leadership of Kakao. See Ex. C ¶¶ 18-20.

He continued to serve as Executive Advisor to Kakao for several years following his successful

tenure as CEO. See id. ¶ 21. Following this illustrious career as a businessperson, he now is a

professor, teaching technology and entrepreneurship classes at the NYU Stern School of

Business and other programs around the world. See id. ¶¶ 1-5.

       In short, Professor Rim’s experience confers exactly the sort of expertise that courts

routinely find qualifies an expert to opine on related topics. See, e.g., Heller, 952 F. Supp. 2d at

141-42; Bazarian, 315 F. Supp. 3d at 110-11.



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       Meta’s argument that Professor Rim lacks sufficient expertise in mobile messengers

launching PSN offerings—simply because KakaoStory (Kakao’s PSN service) is a separate

application from KakaoTalk (Kakao’s mobile messaging application)—carries no weight. See

Mot. at 41. Meta itself repeatedly recognized that each of the major Asian mobile messaging

applications had used its success in messaging “as a springboard to build more general social

networks.” Ex. F (PX1116) at -001 (Zuckerberg message string discussing Kakao, LINE, and

WeChat); see also, e.g., Ex. G (PX10271) at -001 (Zuckerberg email describing the “big risk” of

a “company . . . build[ing] out a messaging app for communicating with small groups of people,

and then transforming that into a broader social network,” and noting that Kakao, LINE, and

WeChat were “running this exact strategy and it’s working reasonably well”);




       Professor Rim likewise explained there were “variations in the rollout” of LINE, Kakao,

and WeChat’s social networking offerings. See Ex. C ¶ 109. But none of these differences

changes the underlying point—successful mobile messaging applications were able to use their

success in messaging to launch PSN services, whether in a standalone app like KakaoStory or a

separate tab in the same app like WeChat Moments or LINE Timeline. WhatsApp could have

done the same.

                 3. Professor Rim applied his deep experience and industry standard methodology
                    to the facts of this case in order to proffer his Opinion 2.

       Meta is also wrong that Professor Rim failed to apply a methodology in reaching his

Opinion 2. As detailed above, an expert’s observation of relevant evidence and application of

specialized knowledge to the case at hand is a reliable methodology. See, e.g., Heller, 952 F.


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Supp. 2d at 141; Bazarian, 315 F. Supp. 3d at 112-13. Professor Rim’s report applies just such a

methodology. Professor Rim lays out his rebuttal to Professors Kaplan and Carlton in a step-by-

step manner that both provides insights into the practical realities of the industry and offers

context for understanding the import of relevant record evidence, which only someone of

Professor Rim’s knowledge and experience would be capable of providing.

       Drawing upon his venture capital experience, Professor Rim explains why it is wrong for

Professors Kaplan and Carlton to imply that WhatsApp would never monetize. Professor Rim

notes that “the pre-monetization stage of a startup is by necessity time limited,” “[t]he VC backer

cannot continue to inject cash forever,” and “[a]t some point, the business will need to expand

and monetize.” Ex. C ¶¶ 100-102. Professor Rim applies his expertise to his review of the

record evidence, noting that testimony and documents from WhatsApp’s venture capital backers

likewise support the conclusion that WhatsApp’s runway was not infinite. See id. ¶¶ 103-106.

Professor Rim further uses his venture capital experience to explain the importance of statements

made in                                  that indicate plans for monetizing the app above and

beyond WhatsApp’s subscription model: “Based on my experience as a venture capitalist, if

                   indicates that the founders are deliberating on monetization, it signifies that

                              was engaging in discussions with the founders and that it is highly

likely the company will pursue monetization in the near future. As a VC, you wouldn’t present

speculative information                               , which ultimately decides on

            ” Id. ¶ 106



       Professor Rim likewise utilizes his industry expertise in responding to assertions by

Professors Kaplan and Carlton that WhatsApp would not pivot into PSN services. Among other



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things, Professor Rim notes that



                                             Ex. C ¶ 108. Professor Rim further explains based

on his experience that “[a] service limited to mobile messaging generally is less suited to an

advertising-focused monetization model than is a social networking offering similar to

Facebook: this was true in the 2013-2014 time period, and it remains true today.” See id. ¶ 111.

       As with the other elements of his Opinion 2, Professor Rim applies his industry expertise

to evaluation of specific record evidence. He analyzes numerous contemporaneous documents

by relevant venture capital firms and investment banks that each “anticipated that WhatsApp

would attain revenue comparable to companies with an advertising-focused monetization model”

and notes that such documents “suggest[] that a WhatsApp not acquired by Meta would have

developed a social networking offering similar to Facebook.” See id. In reaching that

conclusion, Professor Rim applies his understanding of what those documents mean in the

venture capital and startup contexts. For example,




                                                                      Professor Rim explains that

“industry standard monetization” refers to “Meta’s advertising-focused monetization model in its

Facebook product, as well as the monetization strategies of WeChat, LINE, and Kakao,

described above.” See id. ¶ 113. Professor Rim makes similar points regarding



       Professor Rim also draws on his expertise as a CEO with experience engaging in

acquisitions to explain the importance of “comparables” in Meta’s presentation to its Board on



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the WhatsApp acquisition.

                                                       Professor Rim notes, among other things,

that in his experience, “the choice of ‘comparables’ in the context of acquisition decisions is of

the utmost importance” because “a Board of Directors being presented with such a list will

perceive it as a benchmark.” See id. ¶¶ 120-121. In choosing to present the Meta Board with

                                     , it is reasonable to conclude that Meta likewise saw the

potential for WhatsApp to launch a PSN services offering.

         Contrary to Meta’s accusations, Mot. at 41, Professor Rim did exactly what the Federal

Rules of Evidence and the Arsanjani Court required—he explained how his “experience [led] to

the conclusion reached, why that experience [was] a sufficient basis for the opinion, and how

that experience [was] reliably applied to the facts.” See Arsanjani v. United States, 2023 WL

3231101, at *6 (D.D.C. May 3, 2023), aff’d, No. 23-5109, 2024 WL 718726 (D.C. Cir. Feb. 20,

2024).

                4. Even if Meta’s unsubstantiated attacks on Professor Rim were valid, they
                   would go towards weight, not admissibility.

         Meta argues that this Court should exclude Professor Rim’s detailed analysis because

Professor Rim purportedly ignored testimony by Mr. Acton that he did not intend to “pivot”

WhatsApp in favor of relying on financial and venture capital documents. See Mot. at 39-40, 41-

42. Professor Rim did consider such testimony; he simply found it incomplete and not

dispositive in light of the countervailing evidence in the record and his experience working with

startups and their founders. See, e.g., Ex. E at 183:11-185:11 (describing his review of Mr.

Acton’s investigational hearing testimony, his analysis of Professor Kaplan’s reliance on Mr.

Acton’s testimony, and the reasons why he did not find Mr. Acton’s testimony determinative as

to WhatsApp’s likely monetization path); id. at 177:5-180:5, 184:10-185:11 (noting that based


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on his experience, founders “can be reluctant on monetization” to start, but eventually have to

“face[] the facts” of needing to monetize).

       Even if Meta’s claims were valid, they would still not be grounds for exclusion of

Professor Rim’s Opinion 2—they would at most go to weight, not admissibility. See, e.g.,

Heller, 952 F. Supp. 2d at 140-42, aff’d in relevant part Heller v. D.C., 801 F.3d 264, 272 (D.C.

Cir. 2015); United States v. Raymond, 2023 WL 6588546, at *5 (D.D.C. Oct. 10, 2023)

(allowing testimony by an expert who used his experience to analyze sufficient sources because

“whether that expert should or could have used additional sources go[es] to weight, not

admissibility”) (quotations omitted); SEC v. Johnson, 525 F. Supp. 2d 70, 76 (D.D.C. 2007)

(“Failing to review all relevant evidence is not a ground for excluding [the expert’s] testimony;

rather, it provides subject matter for cross-examination.”).

       Meta’s “human highlighter” jab fails for the same reasons. See Mot. at 38. As detailed

above, Professor Rim does far more than point the Court to important evidence. In any event,

Meta’s arguments about the relevance of Mr. Acton’s testimony bely its real complaint—it

believes Professor Rim is highlighting the wrong evidence. Courts have rejected such claims.

See, e.g., In re Juul Labs, Inc. Mktg., Sales Pracs. & Prods. Liab. Litig., 2022 WL 1814440, at

*13 n.22 (N.D. Cal. June 2, 2022) (“The ODDs likewise move to exclude expert testimony

where plaintiffs’ experts’ allegedly act as ‘human highlighters,’ but then criticize the experts for

their failure to address or review evidence the ODDs believe is relevant . . . . The ODDs[’]

motion on those grounds is DENIED[.]”); In re GLUMETZA Antitrust Litig., 2021 WL 3773621,

at *20 (N.D. Cal. Aug. 25, 2021) (rejecting defendants’ motion to exclude expert testimony on

such grounds and noting that “it is common, indeed required, under Rule 26(a)(2), for an expert

to summarize the facts and data considered in their report”).



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        Finally, Meta asserts that Professor Rim’s Opinion 2 is an effort to reference documents

that will not be sponsored by witnesses at trial. Mot. at 40. Meta cites no legal basis for

excluding Professor Rim’s testimony on these grounds, and the “liberal,” “flexible” standard for

expert witness testimony under Rule 702 does not countenance doing so. See Groobert, 219 F.

Supp. 2d at 7 (quotations omitted) (citing Kumho Tire Co., 526 U.S. at 149). Moreover,

sponsoring witnesses are not required for trial exhibits. See supra Section V.C. Regardless, the

assertion is premature. Final witness lists have yet to be exchanged and no witnesses have

testified.

        C. CONCLUSION

        Professor Rim’s Opinion 2 is both relevant and reliable. That Meta does not like what it

says is not grounds for exclusion. The Court should deny Meta’s motion.




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VII.           THE COURT SHOULD DENY DEFENDANT’S MOTION IN LIMINE TO
               PRECLUDE PROFESSOR HEMPHILL’S USE OF CONSUMER
               SURVEYS TO DERIVE “MARKET SHARES”

        Meta’s motion to exclude certain analysis of the FTC’s economic expert, Professor Scott

Hemphill, is based on an incorrect reading of his analysis and the relevant legal and economic

principles. Specifically, Meta’s motion moves to exclude analysis from Prof. Hemphill’s

rebuttal report in which he calculated prorated shares based on information from user surveys.

Mot. at 43-44 (challenging Ex. A (PX9007), ¶¶ 480-481). Meta’s motion should be rejected

because this analysis is relevant and based on reliable methods. In particular, Prof. Hemphill’s

analysis demonstrates the robustness of his conclusions about Meta’s dominant market share in

response to assertions                      that some friend and family sharing occurs on apps

outside the relevant antitrust market he identified in his opening report. In other words, Meta has

monopoly power “[w]hichever way the data is sliced.” Meta Platforms, 2024 WL 4772423, at

*44.

        Moreover, Prof. Hemphill’s methods are reliable because he follows standard procedures

for conducting market share sensitivity analysis using the best available data. The underlying

surveys provide relevant information about how consumers use various apps, including for

sharing with friends and family. Meta also does not contest the reliability of the surveys (one of

which came from its own files), and instead only mischaracterizes the FTC’s survey expert

Michal Malkiewicz regarding the potential insights and use of his survey results. At most,

Meta’s criticisms go to the weight of Prof. Hemphill’s opinions, rather than their admissibility.

        A. BACKGROUND

        As part of his assignment in this matter, Prof. Hemphill concluded that there is a relevant

antitrust market for PSN services in the United States, consisting of those apps that have core

functionality and use for personal social networking (“PSN apps”). E.g., Ex. B (PX9000)

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¶¶ 189, 608; Ex. A ¶¶ 229-230, 480. Prof. Hemphill further concluded that Meta has maintained

a persistently dominant share in that market, as measured by multiple metrics that Meta uses to

track performance in the ordinary course, including DAU, MAU, time spent, and broadcast

posts. Ex. B ¶¶ 617-659.

       Prof. Hemphill’s opinion regarding Meta’s dominant market shares is based, in part, on

his conclusion that non-PSN apps—including TikTok, Twitter, YouTube, and messaging

services—are not reasonable substitutes and should not be included in the relevant market

because they lack the requisite core functionality and use for friends and family sharing. Ex. A

¶¶ 230, 479-80.

       Meta and its experts dispute these opinions by Prof. Hemphill. For instance,



                                                                                             And

another Meta expert,




       In response, Prof. Hemphill explained how the evidence, as well as

                    does not support including non-PSN apps in the relevant market. Ex. A

¶¶ 284-307. His response included explaining that incidental friend-related activity does not

make such apps reasonable substitutes for PSN services. Id. While not agreeing that incidental

friend-related activity on non-PSN apps requires those apps’ inclusion in the relevant market,

Prof. Hemphill nonetheless went a step further and conducted a sensitivity analysis of his market

share estimates to confirm that such incidental activity does not alter his conclusions regarding

Meta’s dominant market shares (“Proration Analysis”). Id. ¶¶ 480-81. For this exercise, Prof.



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Hemphill calculated prorated shares—for DAU, MAU, and time spent—using the results of four

user surveys, based on reported use of each app for friends and family-related activities. Id.

¶ 480. The four user surveys used by Prof. Hemphill in this exercise consisted of an internal

Meta survey, a survey conducted by the FTC’s survey expert Mr. Malkiewicz, and two third-

party surveys. See id. ¶ 481 (explaining that Prof. Hemphill “multipl[ied] DAU, MAU, and time

spent by the share of users who report using the UGC app for PSN purposes”).

        Prof. Hemphill’s analysis demonstrated that his conclusions are robust to the (contested)

assertion that there is friends and family activity on non-PSN apps that should be included in

market share calculations. Meta’s minimum share across all measures and all surveys is 69.3%.

Id. Thus, Prof. Hemphill stated in his rebuttal report that “[e]ven if one were to credit reporting

of incidental friend-related usage on these non-PSN apps in the Malkiewicz survey or other

surveys as competitively significant, a proration of my shares based on the reported uses that

relate to friends and family sharing still shows Meta with a dominant share.” Id. ¶ 480.

        B. LEGAL STANDARD

        Federal Rule of Evidence 702 governs the admissibility of expert testimony and requires

courts to “‘ensure that any and all scientific testimony . . . is not only relevant, but

reliable.’” Kumho Tire Co., 526 U.S. at 147 (quoting Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 589 (1993)). The standard is a “liberal and ‘flexible’ one,” Groobert, 219 F. Supp. 2d

at 7 (citing Kumho Tire, 526 U.S. at 149), and the court has “broad discretion in determining

whether to admit or exclude expert testimony.” United States ex rel. Miller v. Bill Harbert Int’l

Constr., Inc., 608 F.3d 871, 895 (D.C. Cir. 2010) (internal quotations and citation omitted).

        In considering a Rule 702 motion, a court takes on a “limited gatekeep[ing] role” directed

at excluding expert testimony that is based upon “subjective belief” or “unsupported

speculation.” Ambrosini v. Labarraque, 101 F.3d 129, 134-35 (D.C. Cir. 1996). Courts do not
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“pass on the merits of the expert’s scientific conclusions . . . and must refrain from evaluating the

credibility of opposing experts and the persuasiveness of competing studies.” Heller, 952 F.

Supp. 2d at 140 (cleaned up). The “gatekeeping requirement is substantially relaxed when the

judge will serve as factfinder in a trial.” DL v. District of Columbia, 109 F. Supp. 3d 12, 28

(D.D.C. 2015).

       C. ARGUMENT

       Meta’s motion seeks to exclude Prof. Hemphill’s Proration Analysis under FRE 702.

Mot. at 44, 46 (moving to strike paragraphs 480-81 of Prof. Hemphill’s Rebuttal Report). Meta

does not argue that Prof. Hemphill lacks expertise (Fed. R. Evid. 702(a)), that his opinion is not

based on sufficient facts or data (Fed. R. Evid. 702(b)), or that he did not apply his methodology

reliably to the facts of this case (Fed. R. Evid. 702(d)). Meta likewise does not advance critiques

of Mr. Malkiewicz’s survey methodology or report, or attack any of the other surveys used in the

Proration Analysis as methodologically flawed.

       Instead, Meta’s motion contends that Prof. Hemphill’s Proration Analysis has a

purportedly “unreliable methodology,” although Meta never explicitly states that his opinion

fails to satisfy FRE 702(c). As explained below, Meta’s motion fails, because Professor

Hemphill’s Proration Analysis is relevant and useful to the trier of fact, and it involves reliable

methods used by economists to assess market power. At bottom, Meta’s complaints about the

analysis, at most, go to the weight of the evidence and are not a basis for exclusion.

               1. Prof. Hemphill’s Proration Analysis is relevant and useful to the trier of fact,
                  as called for under Federal Rule of Evidence 702.

       As an initial matter, FRE 702 permits expert testimony that, among other things, “will

help the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid.

702(a). Prof. Hemphill’s prorated estimates will help the Court understand evidence related to


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Meta’s persistent monopoly power. Indeed, these estimates directly respond to arguments from

               that Prof. Hemphill failed to properly account for the competitive significance of

certain non-PSN apps in calculating Meta’s market share, which is indirect evidence of its

monopoly power. Ex. A ¶¶ 475, 479-80. These estimates also proportionally reduce Facebook’s

and Instagram’s usage figures for reported survey responses that are not directly related to friend

activity. Id. As such, they also address the assertion from Meta and             that Facebook

and Instagram are, in their view, largely not used for friends and family sharing. See Meta Reply

Brief at 6, ECF No. 370-1; Ex. C ¶¶ 69, 73. The results, as detailed above, are that Meta has a

persistently dominant share on every measure. Ex. A ¶ 481.

       In sum, Prof. Hemphill’s prorated estimates are obviously relevant to issues put in play

by Meta and its experts and will aid the Court regarding areas of interest. See, e.g., Meta

Platforms, 2024 WL 4772423, at *46 (referencing whether no time spent on non-PSN apps

should count in market share estimates); id., at *38 (referencing Meta’s assertion that friends-

and-family sharing purportedly makes up only a small fraction of usage on Facebook and

Instagram).

               2. Prof. Hemphill conducted the Proration Analysis using reliable methods.

       Meta asserts that Prof. Hemphill’s use of surveys to calculate prorated shares is

unreliable. That claim is unfounded. In fact, Prof. Hemphill used the surveys in question as a

sensitivity analysis, which is a standard and reasonable methodology for economists to check the

robustness of their conclusions. See Ex. E (Edward E. Leamer, Let’s Take the Con Out of

Econometrics) at 31. Moreover, courts have credited economists’ reliance on surveys to inform

their antitrust analysis in other cases, even when the surveys were not generated for the purpose

of a particular economic analysis. And, the surveys Prof. Hemphill relied on this matter, which

speak to how consumers use various apps, are reasonable and reliable inputs into his prorated
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estimates. Finally, with respect to the FTC expert’s survey in particular, Meta mischaracterized

Mr. Malkiewicz’s testimony in suggesting that Prof. Hemphill’s use of the survey was not

reasonable.

                3. Conducting a sensitivity analysis, as Prof. Hemphill did, is a standard
                   economic methodology endorsed in other cases and economic literature.

        Prof. Hemphill relied on a standard and reasonable economic methodology when

performing a sensitivity analysis to demonstrate the robustness of his market share estimates. As

described above, in response to critiques from Meta’s experts, Prof. Hemphill demonstrated that

his conclusions about Meta’s dominant share are robust to the (contest) claim that market shares

should account for purported friends-and-family sharing on non-PSN apps. Ex. A ¶¶ 480-81.

His calculation of these prorated shares is consistent with a line of cases where courts consider

multiple approximations of market shares, including those that account for out-of-market

participants. See, e.g., Microsoft Corp., 253 F.3d at 54 (affirming in relevant part that “Windows

accounts for a greater than 95% share . . . even if Mac OS were included, Microsoft’s share

would exceed 80%”); United States v. Bertelsmann SE & Co. KGaA, 646 F. Supp. 3d 1, 37

(D.D.C. 2022) (citing expert’s calculation of multiple market concentration figures in discussing

market power); FTC v. Hackensack Meridian Health, Inc., 2021 WL 4145062, at *20 & n.25

(D.N.J. Aug. 4, 2021), aff’d, 30 F.4th 160 (3d Cir. 2022) (same); FTC v. Kroger, 2024 WL

5053016, at *12, *26-27 (D. Or. Dec. 10, 2024) (crediting sensitivities the FTC’s economic

expert calculated for both geographic market definition and for analysis of possible closure of

divestiture stores).

        It is also standard practice, and well-supported in the economic literature, for economists

to conduct sensitivity analyses to demonstrate that their conclusions would not change even if

assumptions or inputs were altered. See Ex. E at 43 (“The professional audience consequently


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and properly withholds belief until an inference is shown to be adequately insensitive to the

choice of assumptions.”); Ex. F (Gregory J. Werden, Luke M. Froeb & David T. Scheffman, A

Daubert Discipline for Merger Simulation) at 90 n.14 (“When the fit with the facts may be in

dispute, however, it is useful to undertake a sensitivity analysis in addition to justifying a

choice.”). Indeed, Meta’s own economist, Prof. Carlton, has written the same. See Ex. G

(Dennis W. Carlton, Mark A. Israel & Allan L. Shampine, Lessons from AT&T/Time Warner) at

5 (“[M]odels should be carefully evaluated in light of industry history and tested for robustness

to reasonable alternative theoretical assumptions and input values based on the facts of the

case.”).

       Thus, Prof. Hemphill’s use of a sensitivity analysis to test his market shares is a standard

and reasonable economic methodology.

               4. Surveys are reasonable and reliable inputs into Prof. Hemphill’s Proration
                  Analysis.

       Meta’s contention that Prof. Hemphill’s reliance on surveys make his prorated estimates

unreliable is wrong on both the law and the facts. First, Prof. Hemphill’s use of surveys is

consistent with cases indicating that economists and courts regularly rely on ordinary course and

expert surveys to inform their antitrust analysis. See, e.g., Graco Inc. v. PMC Glob., Inc., 2012

WL 762448, at *10 (D.N.J. Mar. 6, 2012) (using survey to calculate market share). In the recent

FTC v. Tapestry, Inc. matter, for example, the FTC’s economic expert relied upon four ordinary

course surveys in conducting market definition analysis, even though the survey questions did

not directly ask a relevant market question of what brands consumers would choose in response

to a price increase or other worsening of terms. 2024 WL 4647809, at *26-28, *33.

       Second, Meta is incorrect that the prorated estimates are unreliable because the specific

surveys used did not ask the exact questions that Prof. Hemphill used for market share


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measures—e.g., “are you a daily active user for personal social networking?” or “how much time

did you spend on personal social networking?” See Mot. at 46-47. Tapestry underscores that

this is not necessary for a survey to still provide relevant information for economic analysis.

2024 WL 4647809, at *26-27. And as this Court and other courts have recognized, economic

experts in antitrust cases routinely use the best available evidence to answer questions relevant to

their antitrust analysis, including the estimation of market shares, even when that evidence only

provides an approximate answer. Meta Platforms, 2024 WL 4772423, at *46 (quoting Anthem,

Inc., 236 F. Supp. 3d at 207 (“[P]laintiffs need not present market shares . . . with the precision

of a NASA scientist. The closest available approximation often will do.”) (internal citation

omitted)); Bazaarvoice, Inc., 2014 WL 203966, at *32 (even if available data is “imperfect . . .

that does not mean that one should ignore the existing data or the market realities.”).

       Other courts have likewise credited the best available evidence for expert use, even if it

did not directly answer the relevant antitrust question. See, e.g., FTC v. PPG Indus., Inc., 798

F.2d 1500, 1505 (D.C. Cir. 1986) (crediting market shares for a separate market as a “proxy” for

the relevant market because market shares for the relevant market were unavailable); Anthem,

Inc., 236 F. Supp. 3d at 217, 220 (crediting estimated diversions based on bidding data even

though the data did not include information about price responses).

       Here, survey data is among the best available evidence for Prof. Hemphill’s prorated

estimates. As the Court has already recognized, market share metrics can be informed by

information on how consumers use the apps: “if the millions of people who open their Facebook

or Instagram applications every day do so in part because those applications meet a specific need

for friends-and-family sharing, it is plausible that all those users should ‘count’ as part of Meta’s

MAUs or DAUs, even if some (or even most) of their time spent on Meta’s products does not



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strictly relate to such sharing.” Meta Platforms, 2024 WL 4772423, at *46 (emphasis in

original). Each of the surveys Prof. Hemphill relies on provides answers on consumer needs or

uses directly: the surveys ask users about why they use various PSN and non-PSN apps,

including users’ main, primary, or most important reasons (or purposes) for using the services.

Ex. A at Apps. A-14, A-15, A-16, A-17. The data from the surveys—and Prof. Hemphill’s use

of the data to estimate prorated shares—therefore fall well within the Court’s accepted rubric for

estimating market shares. Prof. Hemphill uses ordinary course and expert surveys that report

information pertinent to his prorated estimates; accordingly, the surveys “provide relevant data

on the issue before the court.” Mot. at 45 (citing Ex. H (Shari Seidman Diamond, “Reference

Guide on Survey Research”) at 373).

       Moreover, Meta’s motion does not argue that any of the four surveys—one of which is

Meta’s own ordinary course survey—relied on by Prof. Hemphill in prorating his estimates are

unreliable or flawed in their execution. To the contrary, Meta filed no similar motion in limine

regarding the Malkiewicz survey or any of Mr. Malkiewicz’s opinions.

       Meta instead focuses its criticism on the supposed disconnect between the surveys and

measurements of time spent, since the surveys ask about why respondents use particular apps, as

opposed to the specific duration of their use. Mot. at 46. Whatever the validity of this critique, it

is far less apt to the proration of MAU and DAU. See Meta Platforms, 2024 WL 4772423, at

*46. Moreover, consumers’ use cases for PSN and non-PSN apps are generally related to

intensity of use as well, making proration of time spent using the survey responses a reasonable

approach. See, e.g.,




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          Prof. Hemphill’s prorated estimates all lead to the same inescapable conclusion: that

Meta has a dominant share of the market for PSN services in the United States. Notably, this

result holds for each of the four different surveys, conducted at different times between 2019 and

2023 and by different entities. Ex. A ¶ 481. As such, “[w]hichever way the data is sliced . . . the

story is the same: Meta’s share of the relevant market has exceeded (at times greatly) the level

typically associated with monopoly power.” Meta Platforms, 2024 WL 4772423, at *44.

                 5. Meta misrepresents the FTC’s survey expert when criticizing Prof. Hemphill’s
                    use of the Malkiewicz survey.

          As referenced above, Meta rightly does not criticize Mr. Malkiewicz’s survey

methodology in its motion. But Meta nonetheless attacks Prof. Hemphill’s use of the

Malkiewicz survey by claiming that Mr. Malkiewicz “expressly disclaimed” the use of his

survey in Prof. Hemphill’s Proration Analysis. Mot. at 43 (emphasis in original). That is flatly

false. On the contrary, when presented with Prof. Hemphill’s prorated estimates during his

deposition, Mr. Malkiewicz testified that “in the context that Professor Hemphill appears to have

used [the survey results] . . . that would be a correct use of the data that my survey produced.”

Ex. K (PX6171) at 83:17-84:4 (emphasis added); see also id. at 83:11-16 (Mr. Malkiewicz “d[id]

not see any issues with that particular calculation” of “comparing my survey, the outcome of

using my survey . . . with some of the other surveys that Professor Hemphill also had access

to.”).

          Meta’s claim that Mr. Malkiewicz “was surprised when shown how Prof. Hemphill had

used the Malkiewicz survey,” Mot. at 46, is similarly misleading. In his testimony, Mr.

Malkiewicz explained he was “generally aware that Professor Hemphill has used data from the


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results of my survey as one data point for . . . one type of analysis that he’s conducted in rebuttal

to certain critiques of his initial report,” and that Prof. Hemphill did so “in combination” with

other usage data. Ex. K at 80:16-81:7. Meta also confusingly raises testimony from Mr.

Malkiewicz that he was not assigned to measure economic substitution. Mot. at 46. That does

not refute or undermine the relevant information that Prof. Hemphill gleaned from the surveys

regarding how consumers use particular apps, as discussed above. Supra Section C.1-4.

        Finally, Meta appears to criticize Prof. Hemphill’s methodology as unreliable because

Mr. Malkiewicz’s survey—again just one of four surveys used in Prof. Hemphill’s prorated

estimates—does not include a “statement describing the purpose or purposes of the survey” as

measuring consumer usage. Mot. at 46 (quoting Ex. H at 373). This is also not accurate, as Mr.

Malkiewicz’s opening expert report contains such a statement: “I conducted a scientifically

designed study in the form of a consumer web survey to understand users’ usage of and attitudes

toward [internet services].” Ex. L (PX9006) ¶ 11 (emphasis added). Further, a close

examination of the language Meta cites reveals it pertains to ensuring a survey’s relevance to the

legal controversy at issue—not reliability—and Meta does not contend the Malkiewicz survey

itself is not relevant. See Ex. H at 373. Mr. Malkiewicz likewise stated his “opinion is that

Professor Hemphill correctly understands both the purpose and results of my survey.” Ex. M

(PX9012) ¶ 98. Thus, even under Meta’s standard, Prof. Hemphill’s use of Mr. Malkiewicz’s

survey is reliable.

                6. Meta’s critiques of the Proration Analysis reflect substantive disagreement
                   and, at most, go to weight of the evidence and not admissibility.

        Meta’s critiques of Prof. Hemphill’s Proration Analysis, at most, go to the weight given

to Prof. Hemphill’s opinions, rather than their admissibility. See Heller, 952 F. Supp. 2d at 142

(collecting cases). Indeed, because Meta attacks one of the assumptions that underlies Prof.


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Hemphill’s Proration Analysis—that ordinary course and expert surveys are a reasonable input

into prorated market shares—Meta’s motion fails under the relevant law. Bazarian, 315 F. Supp.

3d at 113 (“[E]ven if [an expert] made factual errors or incorrect assumptions, these go only to

the weight, not admissibility, of [the expert’s] testimony”) (citing cases); Ex. N (Hr’g Tr., FTC v.

Tapestry, Inc.) at 64 (“Whether an input into [economic expert’s] analysis; namely, the particular

survey questions chosen are flawed will be assessed by this Court in deciding the weight to

afford this opinion. Therefore, the Court will not exclude it . . . .”). Likewise, “errors in [survey]

methodology thus properly go only to the weight of the evidence.” Schering Corp. v. Pfizer Inc.,

189 F.3d 218, 228 (2d Cir. 1999).

       Meta further cites a few inapposite cases, none of which support its motion. First, Meta

cites United States v. AT&T Inc., 310 F. Supp. 3d 161, 233 (D.D.C. 2018) and United States v.

H&R Block, 833 F. Supp. 2d 36, 70 (D.D.C. 2011) for the proposition that courts “routinely

exclude” expert opinions that misuse surveys. Mot. 47. But neither citation is to a Daubert

opinion; instead, both courts considered what weight to assign surveys after the benefit of trial.

Indeed, H&R Block expressly underscores that Meta’s complaints do not support exclusion.

There, the court denied the plaintiff’s earlier motion in limine seeking to exclude portions of

defendants’ expert opinion relying on a survey, holding that “[w]hile the plaintiff has identified

cogent concerns about the wording and the methodology of the survey, the Court finds that these

concerns go to the weight, not the admissibility, of the evidence, especially in this bench hearing

where there is no concern about jury confusion or prejudice.” United States v. H&R Block, 831

F. Supp. 2d 27, 32-33 (D.D.C. 2011).

       Meta goes on to cite three non-binding cases that do not deal in antitrust law and that

have no application to the instant case. Mot. at 47-48. For instance, Meta cites Parallel



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Networks Licensing, LLC v. Microsoft Corp., 777 F. App’x 489, 492-93 (Fed. Cir. 2019), a non-

antitrust case in which the Federal Circuit affirmed a lower court’s exclusion of a survey based

on relevance. Parallel Networks Licensing, LLC v. Microsoft Corp., 2017 WL 11557655, at *3

(D. Del. Feb. 22, 2017) (“While it is true that a survey need not prove infringement, to be

admissible, the survey must, at the very least, be relevant.”) (emphasis in original). Both of the

remaining out-of-district cases raised by Meta likewise fault experts for relying solely on

individual surveys for jury cases. See Mot. at 48.

       By contrast, Meta makes no argument that the surveys at issue here are irrelevant to Prof.

Hemphill’s opinions or the issues in this case—nor could they, given the Proration Analysis’s

relevance described above. Nor can Meta argue that any one survey is the basis for Professor

Hemphill’s analysis.

       D. CONCLUSION

       For the foregoing reasons, Prof. Hemphill’s estimates of prorated shares are reliable and

relevant. Meta’s motion should be denied.




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Dated:   March 7, 2025           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

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